     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 1 of 132




           IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF TEXAS
                     EL PASO DIVISION

CELIA SANCHEZ and                   §
OSCAR SALAS,                        §
statutory death                     §
beneficiaries of ERIK               §
EMMANUEL SALAS-                     §
SANCHEZ,                            §
     Plaintiffs,                    §
                                    §
v.                                  §               EP-17-CV-133-PRM
                                    §
MANDO KENNETH                       §
GOMEZ, and the CITY                 §
OF EL PASO, TEXAS,                  §
    Defendants.                     §

 MEMORANDUM OPINION AND ORDER GRANTING IN PART
  AND DENYING IN PART DEFENDANT CITY OF EL PASO,
      TEXAS’ MOTION FOR SUMMARY JUDGMENT

     On this day, the Court considered Defendant City of El Paso,

Texas’ [hereinafter “Defendant City of El Paso”] “Motion for Summary

Judgment” (ECF No. 143) [hereinafter “Motion”], filed on May 1, 2019;

Plaintiffs Celia Sanchez and Oscar Salas’s [hereinafter “Plaintiffs”]

“Response to Defendant City of El Paso’s Motion for Summary

Judgment” (ECF No. 181) [hereinafter “Response”], filed on June 28,

2019; Defendant City of El Paso’s “Reply to Plaintiffs’ Response to

Defendant City of El Paso’s Motion for Summary Judgment” (ECF No.
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 2 of 132




192) [hereinafter “Reply”], filed on August 6, 2019; and Plaintiffs’

“Surreply to Defendant City of El Paso’s Reply in Support of its Motion

for Summary Judgment” (ECF No. 196) [hereinafter “Surreply”], filed

on August 12, 2019, in the above-captioned cause. For the foregoing

reasons, the Court will grant in part and deny in part Defendant City of

El Paso’s Motion.

I. FACTUAL AND PROCEDURAL BACKGROUND

     This case arises out of an officer-involved fatal shooting on April

29, 2015. A police officer of the El Paso Police Department [hereinafter

“EPPD”] shot Mr. Erik Emmanuel Salas-Sanchez [hereinafter “Mr.

Salas-Sanchez”] inside the Salas-Sanchez’s residence. Mr. Salas-

Sanchez died from his wounds. The parties’ allegations regarding the

events surrounding Mr. Salas-Sanchez’s death on April 29, 2015, are

summarized in detail in the Court’s recent “Memorandum Opinion and

Order” regarding Defendant EPPD Officers Mando Kenneth Gomez’s,

Alberto Rivera’s, and Pamela Smith’s motions for summary judgment.

See Mem. Op. and Order, July 24, 2019, ECF No. 189.

     At the summary judgment stage, the Court must resolve all

factual disputes in favor of the non-moving party. Anderson v. Liberty


                                     2
      Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 3 of 132




Lobby, Inc., 477 U.S. 242, 255 (1986) (citing Adickes v. S.H. Kress & Co.,

398 U.S. 144, 158–59 (1970)). Accordingly, the description of the events

on April 29, 2019, are the facts taken in the light most favorable to

Plaintiffs, as originally identified in the Court’s July 24, 2019,

Memorandum Opinion and Order.

    A. Factual Background

      On April 25, 2015, Ms. Louisa Romero found her neighbor, Mr.

Salas-Sanchez, inside her home and sitting on her living room couch.

Mem. Op. and Order 4. After Ms. Romero demanded Mr. Salas-Sanchez

leave her home, Mr. Salas-Sanchez walked across the street to his

mother’s home, where Mr. Salas-Sanchez resided. Id. at 5. Ms. Romero

called the EPPD and reported the incident. Id. Shortly thereafter,

Defendant EPPD Officers Mando Kenneth Gomez, Alberto Rivera, and

Pamela Smith [hereinafter collectively referred to as “Defendant

Officers”]1 responded to the report and arrived at the Salas-Sanchez’s

residence. Id. at 7.


1 Both Defendant Officers Rivera and Smith are no longer parties to
this suit. See Order of Dismissal—Defendant Alberto Rivera, Nov. 8,
2019, ECF No. 218 (dismissing Defendant Officer Rivera pursuant to a
joint stipulation of dismissal); Mem. Op. and Order, July 24, 2019, ECF
No. 189 (granting summary judgment for Defendant Officer Smith).
                                     3
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 4 of 132




     Mr. Salas-Sanchez and his mother, Plaintiff Celia Sanchez

[hereinafter “Plaintiff Sanchez”], interacted with the Defendant Officers

in front of the Salas-Sanchez’s home. Id. As the Court noted in its prior

Memorandum Opinion and Order, the details of this interaction present

numerous fact issues that cannot be determined at the summary

judgment stage. See generally id. (discussed in detail throughout the

Court’s Memorandum Opinion and Order). At some point during this

interaction, Plaintiff Sanchez informed the Defendant Officers that Mr.

Salas-Sanchez had been acting strangely and that she believed her son

needed help from mental health services. Mot. 16; Resp. 1.

     Subsequently, Mr. Salas-Sanchez entered the Salas-Sanchez’s

residence. Mem. Op. and Order 14. After assessing the situation,

Defendant Officers Gomez and Rivera effectuated what is known as an

“emergency detention order”2 [hereinafter “EDO”], making a

warrantless entry into the home to pursue Mr. Salas-Sanchez and

detain him. Id. Once again, the details of what took place inside the




2 An EDO is a mechanism under Texas law that allows officers to detain
a person who is perceived to need mental health treatment in specified
circumstances. See generally Tex. Health & Safety Code Ann.
§ 573.001.
                                    4
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 5 of 132




Salas-Sanchez’s residence create various fact issues that cannot be

determined at the summary judgment stage. See generally id.

(discussed in detail throughout the Court’s Memorandum Opinion and

Order). Ultimately, these events culminated in Defendant Officer

Rivera firing a ranged taser at Mr. Salas-Sanchez, and Defendant

Officer Gomez firing his service weapon thereafter. Id. at 14. Both uses

of force made contact with Mr. Salas-Sanchez, and he later died from

three gunshot wounds he sustained as a result of Defendant Officer

Gomez’s use of force. Id. at 14–15.

  B. Procedural Background

     Plaintiffs are the parents of decedent Mr. Salas-Sanchez. First

Am. Compl., June 15, 2017, ECF No. 17. Plaintiffs filed their “Original

Complaint” (ECF No. 1) on April 28, 2017, and their “First Amended

Complaint” (ECF No. 17) [hereinafter “Amended Complaint”] on June

15, 2017.

     In their Amended Complaint, Plaintiffs allege that the officers

involved in the incident— Defendant Officers Gomez, Rivera, and

Smith—deprived Mr. Salas-Sanchez of his constitutional rights

pursuant to the Fourth and Fourteenth Amendments of the United


                                      5
      Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 6 of 132




States Constitution, in violation of 42 U.S.C. § 1983. Am. Compl. 22–

23.

      Additionally, Plaintiffs bring a Monell municipal liability claim

against Defendant City of El Paso, alleging that:

      [The] customs, policies, practices, and procedures, the
      failures to properly and adequately hire, train, instruct,
      monitor, supervise, evaluate, investigate and discipline and
      the unconstitutional orders, approvals, and tolerance of
      wrongful conduct of the City of El Paso were adopted with
      deliberate indifference to the constitutional rights of citizens
      . . . [and] a moving force and/or a proximate cause of the
      deprivations of [Mr. Salas-Sanchez]’s clearly established and
      well settled constitutional rights under the Fourth
      amendment in violation of 42 U.S.C. § 1983.

Id. at 24–25; see also Monell v. Dep’t of Soc. Servs., 436 U.S. 658 (1978)

(setting the standard for determining whether a municipality may be

held liable for a constitutional injury).

      1. Plaintiffs’ Claims Against Defendant Officers

      Regarding Plaintiffs’ claims against Defendant Officers, Plaintiffs

allege, first, that Defendant Officers deprived Mr. Salas-Sanchez and

Plaintiffs “of their rights under the Fourth and Fourteenth

Amendments to the United States Constitution by intentionally

entering Plaintiffs’ home without warrant or probable cause, and under

no exigent circumstances.” Am. Compl. at 22. Second, Plaintiffs allege

                                      6
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 7 of 132




that Defendant Officers Gomez and Rivera deprived Mr. Salas-Sanchez

“of his rights under the Fourth Amendment and Fourteenth

Amendment of the United States Constitution by intentionally using an

objectively unreasonable and excessive amount of force.” Id. at 23.

     At an earlier stage in the litigation, Defendant Officers filed

motions to dismiss pursuant to the Federal Rules of Civil Procedure

Rule 12(b)(6), arguing that Defendant Officers are entitled to qualified

immunity. See Mem. Op. & Order Den. Def. Mando Kenneth Gomez’s,

Alberto Rivera’s, and Pamela Smith’s Mots. to Dismiss, Sept. 1, 2017,

ECF No. 45. The Court denied these motions to dismiss. Id.

     Subsequently, in April 2019, Defendant Officers filed motions for

summary judgment, again arguing that they are entitled to qualified

immunity and, accordingly, seeking summary judgment in their favor.

Defendant Officer Mando Kenneth Gomez’s Mot. for Summ. J., Apr. 30,

2019, ECF No. 145; Defendant Alberto Rivera’s Mot. for Summ. J., Apr.

30, 2019, ECF No. 141; Defendant Pamela Smith’s Mot. for Summ. J.,

Apr. 30, 2019, ECF No. 140. On July 24, 2019, the Court entered a

single opinion denying the motions for summary judgment filed by

Defendant Officers Gomez and Rivera, but granting the motion for


                                    7
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 8 of 132




summary judgment filed by Defendant Officer Smith. Mem. Op. and

Order, July 24, 2019, ECF No. 189.

     Specifically, the Court determined that “Mr. Salas-Sanchez’s

death was not a foreseeable consequence of [Defendant] Smith’s illegal

entry.” Id. at 52. Therefore, Plaintiffs could not establish that

Defendant Officer Smith’s entry into the home caused an injury. Id.

47–52. Additionally, the Court determined that there were fact issues

regarding whether Defendant Officers’ entry was justified. Id. at 28–

47. Furthermore, a jury could determine that Defendant Officers

Gomez and Rivera’s uses of force violated clearly established

constitutional law. Id. at 52–69. Thus, the Court concluded that

Defendant Officers Gomez and Rivera were not entitled to qualified

immunity as a matter of law, and denied their summary judgment

motions. Id.

     2. Plaintiffs’ Claims Against Defendant City of El Paso

     Here, Defendant City of El Paso moves for summary judgment

pursuant to the Federal Rules of Civil Procedure Rule 56, arguing that

“[t]he facts of this case do not meet the standard for municipal liability

under Monell.” Mot. 2. In Plaintiffs’ Amended Complaint, Plaintiffs


                                     8
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 9 of 132




claim that various failures of Defendant City of El Paso and its Chief,

Gregory Allen [hereinafter “Chief Allen”], were a “moving force and/or a

proximate cause of the deprivations of” Mr. Salas-Sanchez’s

constitutional rights. Am. Compl. 25. Specifically, Plaintiffs make

eight distinct allegations:

           (A) [EPPD maintains] a policy or custom of excessive
     force by officers so common and widespread as to constitute
     a custom that fairly represents municipal policy;
           (B) [EPPD maintains] a policy or custom of officers’
     failure to avoid the use of deadly force against individuals
     when the officer is not at risk of imminent serious bodily
     injury or death;
           (C) [EPPD maintains] a policy or custom of the use of
     excessive force by officers when the officer is on notice of a
     victim’s mental health problems that is so common and
     widespread as to constitute a custom that fairly represents
     municipal policy;
           (D) [EPPD failed to] properly train or supervise
     members of the El Paso Police Department, including [co-
     d]efendants Gomez, Rivera, and Smith, not to use
     intermediate or deadly force against an individual who does
     not place the officer or another at risk of imminent serious
     bodily injury or death;
           (E) [EPPD failed to] properly train or supervise
     members of the El Paso Police Department, including [co-
     d]efendants Gomez, Rivera, and Smith, on mental health
     issues and how [to] implement de-escalation and
     communication tactics during incidents where their officers
     have notice and knowledge that the person for whom they
     are called has a mental health issues [sic];
           (F) [EPPD failed to] institute proper procedures to
     ensure that EPPD officers use appropriate de-escalation and


                                    9
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 10 of 132




     communication tactics in situations in which it is known
     that an unarmed resident has a mental illness;
           (G) [EPPD failed to] classify any officer-involved
     shootings as unjustified—particularly those involving
     unarmed victims; and
           (H) [EPPD failed to] pursue criminal or disciplinary
     charges or support criminal or disciplinary action against
     officers, including Gomez, Rivera, and Smith, who have
     deprived citizens and residents of El Paso of their
     constitutional rights.

Id. at 23–24.

     In June 2017, Defendant City of El Paso moved to dismiss

Plaintiffs’ First Amended Complaint for failure to state a claim

pursuant to the Federal Rules of Civil Procedure Rule 12(b)(6). Def.

City of El Paso, Texas’ Rule 12 Mot. to Dismiss Pls.’s First Am. Compl.,

June 29, 2017, ECF No. 22. The Court denied the motion. Mem. Op. &

Order Den. Def. City of El Paso’s Mot. to Dismiss, Oct. 6, 2017, ECF No.

46. As explained in the Court’s order, Plaintiffs’ response to the motion

to dismiss distilled Plaintiffs’ allegations into five distinct claims. The

Court determined that Plaintiffs pleaded sufficient facts to state a claim

regarding the following five theories:


     (1) EPPD’s policy of excessive force applied to mentally ill
        individuals;



                                     10
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 11 of 132




     (2) EPPD’s failure to institute proper procedures to ensure officers
        employ appropriate tactics when confronted with mental health
        issues;

     (3) EPPD’s policy of refusing to classify police shootings as
        unjustified;

     (4) EPPD’s policy of refusing to discipline EPPD officers involved
        in instances of excessive force; and

     (5) EPPD’s failure to train officers on responding to mental health
        crises.

Id. at 30, 35, 40, 44, 53. Defendant City of El Paso now renews its

challenge to these theories, requesting the Court reconsider each as a

matter of law.


II. LEGAL STANDARD

  A. Summary Judgment

     Pursuant to the Federal Rules of Civil Procedure Rule 56(a), a

court “shall grant summary judgment if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” A genuine dispute will be found to exist

“if the evidence is such that a reasonable jury could return a verdict for

the nonmoving party.” Rogers v. Bromac Title Servs., LLC, 755 F.3d

347, 350 (5th Cir. 2014) (quoting Liberty Lobby, Inc., 477 U.S. at 248).

Additionally, “the party moving for summary judgment bears the initial
                                    11
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 12 of 132




burden of . . . ‘identifying those portions of [the record] which it believes

demonstrate the absence of a genuine issue of material fact.’” Norman

v. Apache Corp., 19 F.3d 1017, 1023 (5th Cir. 1994) (quoting Celotex

Corp. v. Catrett, 477 U.S. 317, 323 (1986)).

     “Rule 56(c) mandates the entry of summary judgment . . . upon

motion, against a party who fails to make a showing sufficient to

establish the existence of an element essential to that party’s case, and

on which that party will bear the burden of proof at trial.” Celotex

Corp., 477 U.S. at 322. Where this is the case, “there can be ‘no genuine

issue as to any material fact,’ since complete failure of proof concerning

an essential element of the nonmoving party’s case necessarily renders

all other facts immaterial.” Id. at 323 (quoting Rule 56(c)). In

adjudicating a motion for summary judgment, a court “consider[s]

evidence in the record in the light most favorable to the non-moving

party and draw[s] all reasonable inferences in favor of that party.”

Bluebonnet Hotel Ventures, LLC v. Wells Fargo Bank, N.A., 754 F.3d

272, 276 (5th Cir. 2014).




                                     12
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 13 of 132




  B. Municipal Liability in the Context of § 1983

     Before analyzing Plaintiffs’ theories regarding municipal liability,

some background on the cause of action itself is necessary. Section

1983 instructs:

     Every person who, under color of any statute, ordinance,
     regulation, custom, or usage, of any State . . . subjects, or
     causes to be subjected, any citizen of the United States . . . to
     the deprivation of any rights, privileges, or immunities
     secured by the Constitution and laws, shall be liable to the
     party injured in an action at law.

42 U.S.C. § 1983. In the seminal case of Monell v. Department of Social

Services of City of New York, 436 U.S. 658 (1978), the Supreme Court

considered whether municipalities may be subject to suit pursuant to

§ 1983. Id. at 663. The Court’s answer was yes, though a qualified one.

While the Court noted that the legislative history of § 1983 “compel[led]

the conclusion that Congress did intend municipalities and other local

government units to be included among those persons to whom § 1983

applies[,]” it found that “the language of § 1983, read against the

background of the same legislative history, compel[led] the conclusion

that Congress did not intend municipalities to be held liable unless

action pursuant to official municipal policy of some nature caused a

constitutional tort.” Id. at 690–91. Specifically, the Court held that “a

                                    13
       Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 14 of 132




municipality cannot be held liable solely because it employs a

tortfeasor—or, in other words, a municipality cannot be held liable

under § 1983 on a respondeat superior theory.” Id. at 691.

Consequently, it is only “when execution of a government’s policy or

custom, whether made by its lawmakers or by those whose edicts or

acts may fairly be said to represent official policy, inflicts the injury

that the government as an entity is responsible under § 1983.” Id. at

694.

       In requiring the existence of an official policy or custom before

municipal liability pursuant to § 1983 may attach, the Court “intended

to distinguish acts of the municipality from acts of employees of the

municipality, and thereby make clear that municipal liability is limited

to action for which the municipality is actually responsible.” Pembaur

v. City of Cincinnati, 475 U.S. 469, 479 (1986). In other words,

municipal liability is “limited to acts that are, properly speaking, acts

‘of the municipality’—that is, acts which the municipality has officially

sanctioned or ordered.” Id. at 480. As a result, the unconstitutional

conduct for which the municipality is allegedly liable “must be directly

attributable to the municipality through some sort of official action or


                                      14
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 15 of 132




imprimatur; isolated unconstitutional actions by municipal employees

will almost never trigger liability.” Piotrowski v. City of Houston,

237 F.3d 567, 578 (5th Cir. 2001) (footnote omitted).

     In interpreting the Supreme Court’s guidance on municipal

liability, the Fifth Circuit Court of Appeals has derived “three

attribution principles” that must be established in support of such a

claim. Id. “A plaintiff must identify: ‘(1) an official policy (or custom),

of which (2) a policymaker can be charged with actual or constructive

knowledge, and (3) a constitutional violation whose “moving force” is

that policy or custom.’” Valle v. City of Houston, 613 F.3d 536, 541–42

(5th Cir. 2010) (quoting Pineda v. City of Houston, 291 F.3d 325, 328

(5th Cir. 2002)).

     Regarding the first requirement, “[t]he existence of a policy can be

shown through evidence of an actual policy, regulation, or decision that

is officially adopted and promulgated by lawmakers or others with

policymaking authority.” Id. at 542. Even a single decision may qualify

“if the municipal actor is a final policymaker.” Id. A plaintiff may also

demonstrate the existence of an official policy or custom based on a




                                     15
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 16 of 132




“persistent, widespread practice.” Piotrowski, 237 F.3d at 579 (quoting

Webster v. City of Houston, 735 F.2d 838, 841 (5th Cir. 1984) (en banc)).

     As to the second requirement, “[a]ctual or constructive knowledge

of [a] custom must be attributable to the governing body of the

municipality or to an official to whom that body has delegated policy-

making authority.” Valle, 613 F.3d at 542 (alterations in original)

(quoting Webster, 735 F.2d at 842). Such an official can either be a

policymaker “who has ‘the responsibility for making law or setting

policy in any given area of a local government’s business,’” id. (quoting

City of St. Louis v. Praprotnik, 485 U.S. 112, 125 (1988)), or a

decisionmaker who “possesses final authority to establish municipal

policy with respect to the action ordered[,]” id. (quoting Pembaur,

475 U.S. at 481).

     Finally, to satisfy the third requirement, a plaintiff must allege

“‘moving force’ causation.” Id. This is a two-part obligation. A plaintiff

must show “that the municipal action was taken with the requisite

degree of culpability and must demonstrate a direct causal link between

the municipal action and the deprivation of federal rights.” Id. (quoting

Brown, 520 U.S. at 404). Additionally, a “plaintiff must demonstrate


                                    16
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 17 of 132




that a municipal decision reflects deliberate indifference to the risk that

a violation of a particular constitutional or statutory right will follow

the decision.” Id. (quoting Brown, 520 U.S. at 411); see also Snyder v.

Trepagnier, 142 F.3d 791, 796 (5th Cir. 1998) (noting that “Monell

plaintiffs [must] establish both the causal link (‘moving force’) and the

city’s degree of culpability (‘deliberate indifference’ to federally

protected rights)”).

      Operating in concert, these three requirements “distinguish

individual violations perpetrated by local government employees from

those that can be fairly identified as actions of the government itself.”

Piotrowski, 237 F.3d at 578.

III. ANALYSIS

      In their Response to Defendant City of El Paso’s Motion, Plaintiffs

distill their allegations into four theories of Monell liability and argue

that the evidence raises sufficient material fact issues regarding each

theory, making summary judgment improper. Resp. 41. Specifically,

Plaintiffs argue that there are fact issues as to the following four

theories of Monell liability:




                                     17
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 18 of 132




      (1) failure to institute proper procedures to ensure officers employ
      appropriate tactics when dealing with persons suspected of
      suffering from mental illness;

      (2) failure to properly investigate and discipline officers involved
      in excessive use of force;

      (3) failure to properly train officers in dealing with the mentally
      ill; and

      (4) the excessive use of force when dealing with persons suffering
      from mental health crises.

Id. (formatted as single paragraph in original).3 The Court will address

each claim in turn. As described above, in order to succeed on their

municipal liability claim, Plaintiffs must establish that there is “(1) an

official policy (or custom), of which (2) a policymaker can be charged

with actual or constructive knowledge, and (3) a constitutional violation




3 The Court is mindful that Plaintiffs articulate these four theories
differently than the eight theories Plaintiffs pleaded in their Amended
Complaint, and the five theories the Court permitted Plaintiffs to
prosecute when considering the earlier-filed Motion to Dismiss. See
supra pp. 10–11. After due consideration, the Court is of the opinion
that Plaintiffs’ theories as presented in their Response are
substantively similar to those Plaintiffs’ pleaded in their Complaint.
Therefore, the Court will consider Plaintiffs’ four theories as presented
most recently in this case.
      Additionally, Plaintiffs’ four theories overlap because the facts are
intertwined. Any determination on one theory will inherently impact a
determination on another. When appropriate, the Court will identify
where it declines to repeat its analysis.
                                    18
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 19 of 132




whose ‘moving force’ is that policy or custom.” Valle, 613 F.3d at 541–

42 (quoting Pineda, 291 F.3d at 328).

     At the summary judgment stage, the initial burden is on

Defendant City of El Paso to identify “those portions of [the record]

which it believes demonstrate the absence of a genuine issue of material

fact.” Norman, 19 F.3d at 1023 (quoting Celotex, 477 U.S. at 323).

When the moving party has met its initial burden, “the nonmovant

must identify specific evidence in the record and articulate the manner

in which that evidence supports that party’s claim.” Johnson v. Deep E.

Texas Reg’l Narcotics Trafficking Task Force, 379 F.3d 293, 301 (5th

Cir. 2004). After due consideration, the Court concludes that the

parties have met their respective burdens as to each of Plaintiffs’

theories. Defendant City of El Paso has identified portions of the record

sufficient to support its Motion, and Plaintiffs’ have responded with a

showing of sufficient evidence to survive summary judgment in part.

     As a preliminary matter, for the purpose of making its

determination, the Court must consider whether Chief Allen is a

policymaker who can be charged with actual or contructive knowledge

of the alleged official policies or customs within the EPPD. To succeed


                                    19
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 20 of 132




on their claims, Plaintiffs must prove that Chief Allen is an official to

whom Defendant City of El Paso “has delegated policy-making

authority” and who would have “[a]ctual or constructive knowledge of”

each alleged policy or custom that forms the basis of municipal liability

for Mr. Salas-Sanchez’s death. See Piotrowski, 237 F.3d at 579. At the

summary judgment stage, the Court finds that Plaintiffs have

sufficiently established Chief Allen as a policymaker with such

knowledge.

      Plaintiffs have presented a number of facts that suggest that

Chief Allen, in his capacity as head of the EPPD, has an integral role in

(1) developing and implementing EPPD procedures for responding to

situations involving the mentally ill; (2) investigating EPPD officer

misconduct and determining discipline; and (3) developing the scope

and content of EPPD officer training. Resp. 2–39. Furthermore,

Defendant City of El Paso “does not challenge that Chief Allen is the

final policymaker for purposes of establishing municipal liability with

respect to all of Plaintiffs’ asserted theories of liability.” Id. at 40–41.

Having considered Plaintiffs’ factual showing and Defendant City of El

Paso’s acquiescence, the Court is of the opinion that Plaintiffs have


                                      20
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 21 of 132




presented sufficient facts, for the purpose of summary judgment, that

Chief Allen is a policymaker who satisfies the second element for all

four claims of municipal liability. Therefore, the Court will only

address the first and third elements of each claim for the remainder of

its analysis.

   A. Failure to Institute Proper Procedures to Ensure Officers
      Employ Appropriate Tactics When Dealing with Persons
      Suspected of Suffering from Mental Illness

      Plaintiffs’ first theory—that the EPPD failed to institute proper

procedures to ensure officers employ appropriate tactics when dealing

with persons suspected of suffering from mental illness—is based on

two distinct claims. First, Plaintiffs aver that the EPPD’s “Emergency

Detention” policy in effect at the time of the shooting governing mental

health arrests is facially unconstitutional because it directs officers to

make warrantless mental health arrests on less than probable cause.

Resp. 41. Second, Plaintiffs claim that the EPPD deliberately chose not

to implement a mental health unit, creating a fact issue as to whether

Defendant City of El Paso failed to institute proper procedures when

dealing with persons suffering from mental illness and whether that




                                     21
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 22 of 132




failure was the moving force of the unconstitutional conduct resulting in

Mr. Salas-Sanchez’s death. Id. at 46.


     1. EPPD’s Policy of Permitting Officers to Execute a Warrantless
        Emergency Detention of Mentally Ill Individuals Without
        Probable Cause

     Plaintiffs’ argue that the EPPD failed to ensure officers employ

appropriate tactics when confronted with persons suspected of suffering

from mental health crises. Specifically, Plaintiffs contend that

Defendant City of El Paso’s “emergency detention” policy was

unconstitutional because it failed to require that officers have probable

cause that the subject detainee poses a substantial risk of serious harm.

Resp. 42–43. Accordingly, resolving a fact issue regarding whether the

policy required probable cause would determine whether it was facially

unconstitutional as a matter of law.

     The Fourth Amendment of the United States Constitution

guarantees “[t]he right of the people to be secure in their persons . . .

against unreasonable searches and seizures.” U.S. Const. amend. IV. A

Fourth Amendment seizure is reasonable only if it is supported by

probable cause. Dunaway v. New York, 442 U.S. 200, 214 (1979).

Furthermore, the probable cause standard applies in the context of a

                                     22
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 23 of 132




seizure of the mentally ill. Cantrell v. City of Murphy, 666 F.3d 911,

923 (5th Cir. 2012) (citing Maag v. Wessler, 960 F.2d 773, 776 (9th Cir.

1991)).

     Pursuant to Texas law, both currently and at the time of the

shooting, emergency detention of a person suspected to be mentally ill is

permitted in the following circumstances:

     Sec. 573.001. APPREHENSION BY PEACE OFFICER
     WITHOUT WARRANT.
     (a) A peace officer, without a warrant, may take a person
     into custody if the officer:
           (1) has reason to believe and does believe that:
                  (A) the person is a person with mental illness;
                  and
                  (B) because of that mental illness there is a
                  substantial risk of serious harm to the person or
                  to others unless the person is immediately
                  restrained; and
           (2) believes that there is not sufficient time to obtain a
           warrant before taking the person into custody.
     (b) A substantial risk of serious harm to the person or others
     under Subsection (a)(1)(B) may be demonstrated by:
           (1) the person’s behavior; or
           (2) evidence of severe emotional distress and
           deterioration in the person’s mental condition to the
           extent that the person cannot remain at liberty.
     (c) The peace officer may form the belief that the person
     meets the criteria for apprehension:
           (1) from a representation of a credible person; or
           (2) on the basis of the conduct of the apprehended
           person or the circumstances under which the
           apprehended person is found.


                                    23
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 24 of 132




7 Tex. Health & Safety Code § 573.001.

     Accordingly, “[a]n officer has probable cause to detain if the two

requirements for emergency detention under Texas law are satisfied.”

Rich v. Palko, 920 F.3d 288, 294 (5th Cir. 2019) (citing Cantrell,

666 F.3d at 923). In the context of seizing the mentally ill, “probable

cause exists where the facts and circumstances within the officer’s

knowledge at the time of the seizure are sufficient for a reasonable

person to conclude that an individual is mentally ill and poses a

substantial risk of serious harm.” Cantrell, 666 F.3d at 923.

     Also, at the time of the shooting, the EPPD Police Procedures

Manual [hereinafter “Manual”] “Special Situations” section identified

how officers should interact with persons suspected of suffering from

mental illness. Expressly, at Section 3-402, the Manual directed

officers to “adhere to Title 7 of the Texas Health and Safety Code when

dealing with persons suspected of suffering from mental illness.” Mot.

Ex. A-7, at 2 (Procedures Manual, Special Situations), ECF No. 143-9.

Additionally, the Manual provided the following regarding emergency

detention of mentally ill persons:

     3-402.04 EMERGENCY DETENTION. When Officers
     have reason to believe a person is mentally ill and poses a

                                     24
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 25 of 132




     substantial risk of harm to self or others, they may take that
     person into custody for the purpose of obtaining an
     evaluation of the person’s emotional and mental status and
     the need for involuntary hospitalization. Individuals may
     not be taken into custody merely for being mentally
     disturbed. Probable cause for obtaining an Emergency
     Detention Warrant may be established by a reliable third
     party, by considering the overall circumstances of the
     incident which may indicate mental illness and immediate
     danger or from the Officer’s own observations. Mentally ill
     persons will be transported to a suitable facility as
     determined by Emergence Health Network (EHN). . . .

     A. EMERGENCY DETENTION WARRANT. An officer
        will make a reasonable effort to locate the person. If the
        person is absent from the scene and the officer is unable
        to locate him or her, the officer has the authority, with
        supervisor approval, to obtain a Mental Illness Warrant.
        The warrant will be filed in the warrant office.

     B. EMERGENCY DETENTION WITHOUT A
        WARRANT. Emergency detention without a warrant
        may be used, with supervisor approval, when a mentally
        ill person presents an immediate threat to themselves or
        others and immediate transport to a psychiatric facility is
        necessary. Emergency Detention Applications are
        available for officer’s signature at the facility.
        Supervisors must be notified and approve the
        circumstances for the emergency detention without a
        warrant office.

Id. at 3–4. Specifically, Plaintiffs argue that this “Emergency Detention

Without a Warrant” policy violates the Fourth Amendment and the

requirements set forth in Cantrell because (1) the policy does not

require probable cause and (2) the policy only requires that the

                                    25
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 26 of 132




mentally ill person present an “immediate threat” and not “a

substantial risk of serious harm.” Resp. 42–43.

     The Fifth Circuit has held that “[i]n analyzing the written

policy of [a city], [the court] must do so in the context of the whole.”

Maddux v. Officer One, 90 F. App'x 754, 771 (5th Cir. 2004).

Accordingly, “to confine [the court’s] consideration to a subsection

that [the plaintiff] finds particularly troublesome, narrowly

examining in a vacuum, a single sentence of [a section], would be

inconsistent with generally applicable principles of interpretation

regularly employed by this Court in the construction of a controlling

writing.” Id. Therefore, the Court will consider the totality of the

section for its broader context when analyzing each of Plaintiffs’

textual claims, namely whether it authorized detention without

probable cause or a threat of serious harm.

        a. Whether the policy authorized detention without probable
           cause
     First, Plaintiffs contend that the policy as written did not require

probable cause because it “simply stated that a warrantless arrest ‘may

be used . . . when a mentally ill person presents an immediate threat to

themselves or others and immediate transport is necessary.’” Resp. 42

                                     26
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 27 of 132




(quoting Mot. Ex. A-7, at 3). Therefore, Plaintiffs argue, in choosing to

use “‘may be used’ language [that] falls short of ‘probable cause,’”

Defendant City of El Paso promulgated a written policy that did not

require probable cause. Id. Additionally, Plaintiffs identify new

language in an amended policy that Defendant City of El Paso issued on

May 11, 2015, twelve days after the shooting in this case.4 Id. at 43.

The amended policy explicitly requires probable cause:

     EMERGENCY DETENTION ORDER WITHOUT A
     WARRANT
     Emergency detention without a warrant shall be used when
     probable cause exists that a mentally ill person presents an
     immediate threat to themselves or others and immediate
     transport to a psychiatric facility is necessary. Supervisors
     must be notified and approve the circumstances for the
     emergency detention without a warrant.

Resp. Ex. 4, at 97 (Procedures Manual, Special Situations, Chapter

Revised May 11, 2015).5 Thus, Plaintiffs read the amended


4Presently, the Court declines to consider whether the amended policy
would be inadmissible evidence at trial as a “subsequent remedial
measure” pursuant to the Federal Rules of Evidence Rule 407. See Fed.
R. Evid. 407 (“When measures are taken that would have made an
earlier injury or harm less likely to occur, evidence of the subsequent
measures is not admissible to prove . . . culpable conduct.”).

5 Plaintiffs contend that the amended policy includes a new section
titled “NON-VIOLENT MENTALLY ILL PERSONS.” Resp. 43–44.
That section provides, “Non-violent mentally ill persons who do not
                                    27
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 28 of 132




language as an acknowledgment of the past policy’s constitutional

inadequacy.

     In its Reply, Defendant City of El Paso contends that Plaintiff’s

reading of the policy is noncontextual. Reply 1–2. Defendant first

presents that the policy incorporates Title 7 of the Texas Health &

Safety Code in its language directing officers to “adhere to . . . [the]

Code when dealing with persons suffering from mental illness.” Mot.

Ex. A-7, at 3–4. Relevantly, § 573.001 requires that an officer have

“reason to believe and does believe that” a person is mentally ill, that

because of that illness “there is a substantial risk of serious harm to the

person or to others unless the person is immediately restrained,” and




present an immediate threat to themselves or others and who have
not committed an offense may be informed of appropriate treatment
options. Officers may not take the person to a treatment facility
without their agreement.” Resp. Ex. 4, at 102.
      Plaintiffs argue that this new section demonstrates that the
prior policy did not require officers to have probable cause prior to
taking a mentally ill person into custody for transport to a mental
health facility. Resp. 44. However, Plaintiffs appear to be
mistaken: the prior policy in place at the time of the shooting, dated
April 28, 2014, did include a section titled “NON-VIOLENT
MENTALLY ILL PERSONS” and contained substantially identical
language to the new policy. See Mot. Ex. A-7, at 5.



                                     28
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 29 of 132




that the officer “believes that there is not sufficient time to obtain a

warrant” before seizing the mentally ill person. § 573.001(a). As

explained above, the Fifth Circuit has held that there is probable cause

if these elements are satisfied. See Cantrell, 666 F.3d at 923.

Therefore, Defendant City of El Paso argues, the Emergency Detention

policy should be read to incorporate the Texas Code’s probable cause

standards.

     Additionally, Defendant argues that other references in the

overall Special Situations policy demonstrates that the Emergency

Detention policy requires probable cause prior to detention. Reply 2–3.

Specifically, the policy implies the need for probable cause in the

context of obtaining an Emergency Detention Warrant and requires

probable cause if Adult Protective Services requests the emergency

detention of a mentally ill adult or elderly person. Mot. Ex. A-7, at 3, 6.

Plaintiffs present these same facts differently, arguing that “the

mention of probable cause in separate sections of Section 3.402 only

underscores its absence under the ‘Emergency Detention Without a

Warrant’ policy.” Surreply 2.




                                     29
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 30 of 132




     Having reviewed the relevant provisions, the Court concludes that

neither party’s interpretation is dispositive. Opinions may differ on

how to interpret the provision adopting portions of the Texas Health

and Safety Code. One could surmise that the Texas Code was

incorporated into all aspects of the policy, such that requiring probable

cause for warrantless emergency detentions did not need to be expressly

reiterated in the Emergency Detention policy. Simultaneously, one

could consider Defendant City of El Paso’s omission of explicit probable

cause language to be indicative of a deliberate exception to such an

incorporation. After due consideration, when viewing these provisions

in the light most favorable to Plaintiffs, the Court is of the opinion that

a jury could conclude that the written policy affirmatively sanctioned

the warrantless emergency detention of a mentally ill individual

without probable cause.

        b. Whether the policy authorized detention without threat of
           “serious harm”

     Second, Plaintiffs argue that the policy is unconstitutional

because it provides for detention so long as the mentally ill individual

presents merely “an immediate threat” and does not require that the

individual present a threat of “serious harm.” Id. at 43. Plaintiffs

                                    30
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 31 of 132




maintain that “[t]he ‘serious harm’ language is an important

constitutional constraint on a peace officer’s arrest authority. One can

imagine any number of situations where a person with a mental

disability poses a threat of kicking his dog or taking his mother’s

sandwich.”6 Id. at 43 n.1. An apprehension in such circumstances,

Plaintiffs argue, would violate the Fourth Amendment but would be

consistent with Defendant City of El Paso’s written policy at the time of

the shooting.7 Id.

     After due consideration, the Court is of the opinion that a

reasonable jury could conclude that the Emergency Detention policy

authorized warrantless emergency detention of a mentally ill individual

who presented “an immediate threat” as the text of the policy provides,

and not a “substantial risk of serious harm” as required pursuant to the

Texas Health and Safety Code and Fifth Circuit jurisprudence. Similar

to the Court’s reasoning in the previous subsection, though a jury might


6The Court presumes that Plaintiffs’ argument does not intend to
diminish the travesty of animal cruelty. Additionally, one could
imagine circumstances where a threat to a dog could provide probable
cause.

7Defendant City of El Paso did not address this argument in either its
Motion or Reply.
                                    31
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 32 of 132




ultimately determine that the reference to Title 7 of the Texas Health

and Safety Code incorporates the higher standard into Defendant City

of El Paso’s policy, a reasonable jury might also determine that the text

of the Emergency Detention policy authorizes detention based on the

lower “immediate threat” standard.

     The Court is mindful of its role in determining Defendant City of

El Paso’s Motion. The Court is not tasked with constructing the policy.

The Court must instead assess these provisions as evidence of the

existence of a written policy that supports one of Plaintiffs’ claims for

relief. Therefore, the Court determines that Plaintiffs have

demonstrated that the language of Defendant City of El Paso’s

Emergency Detention policy creates a fact issue as to whether the

written policy authorizes emergency detention without probable cause

that a mentally ill person poses a substantial risk of serious harm to

themselves or others. If the policy so authorizes, a reasonable

factfinder could conclude that Defendant City of El Paso’s mental

health detention policy is facially unconstitutional.8


8The Court notes that a jury’s determination that the policy is facially
unconstitutional does not preclude a determination that the Defendant
City of El Paso’s unwritten policies through training and practices
                                    32
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 33 of 132




     Furthermore, a facially unconstitutional policy would be the

moving force for any constitutional violation resulting from an EPPD

officer’s actions pursuant to the policy.9 See Jauch v. Choctaw Cty.,

874 F.3d 425, 435 (5th Cir. 2017) (explaining that causation is clear

when an employee acts at the direction of a municipal policy); Kersh v.

Derozier, 851 F.2d 1509, 1513 (5th Cir. 1988) (same). Therefore, when

considering the facts in the light most favorable to Plaintiffs, a

reasonable jury could find that all three elements of municipal liability

are satisfied as to this theory. Accordingly, the Court is of the opinion

that Defendant City of El Paso should be denied summary judgment

regarding the question of whether its written policy for warrantless

emergency detentions of a mentally ill individual is facially



absolves it of liability for its unconstitutional written policy. See
Maddux v. Officer One, 90 F. App’x 754, 771–72 (5th Cir. 2004) (“It is
plausible that the jury could believe that, though the written policy had
not been updated to reflect current law, officers were nevertheless
trained in protocol that complied with decisional law interpreting the
extent of the Fourth Amendment protection against unreasonable
searches.”).

9The Court has already determined that a reasonable jury could
conclude that the actions of Defendant Officers Gomez and Rivera
violated Mr. Salas-Sanchez’s constitutional rights. See Mem. Op. and
Order, July 24, 2019, ECF No. 189.

                                    33
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 34 of 132




unconstitutional, such that it may serve as a basis for Plaintiffs’

requested relief.

     2. EPPD’s Choice to Not Implement a Dedicated Mental Health
        Unit

     In further support of their theory that the EPPD failed to ensure

officers employ appropriate tactics in confronting mentally ill persons,

Plaintiffs argue that Chief Allen made a deliberate choice to not

implement a “Critical Intervention Training” unit or a “Crisis

Intervention Team”10 [hereinafter “CIT”] and this choice was a moving

force of Mr. Salas-Sanchez’s shooting death. Resp. 46. Specifically,

Plaintiffs argue that “Chief Allen knew that [mental health] teams

could reduce the risk of excessive force when presented with mental

health issues, yet deliberately chose not to implement them.” Id.

     After due consideration, the Court is of the opinion that a

reasonable jury could find: (1) that Defendant City of El Paso made the

policy decision to not implement a CIT program; (2) which otherwise

may have prevented Mr. Salas-Sanchez’s death; and (3) that Chief Allen


10Plaintiffs refer to a “Critical Intervention Training” team in their
Response but refer to “crises intervention” teams in their Amended
Complaint. Compare Resp. 5, with Am. Compl. 15. Both are apparently
abbreviated as “CIT” and used interchangeably in the parties’ filings.
                                    34
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 35 of 132




supported this policy decision while deliberately indifferent to the risk

that EPPD officers may use excessive force against mentally ill

individuals.

        a. Policy

      “The existence of a policy can be shown through evidence of . . .

[a] decision that is officially adopted and promulgated by lawmakers or

others with policymaking authority.” Valle, 613 F.3d at 542. “A

municipal ‘policy’ must be a deliberate and conscious choice by a

municipality’s policy-maker.” Rhyne v. Henderson Cty., 973 F.2d 386,

392 (5th Cir. 1992) (citing City of Canton v. Harris, 489 U.S. 378, 389

(1989)). “While the municipal policy-maker’s failure to adopt a

precaution can be the basis for § 1983 liability, such omission must

amount to an intentional choice, not merely an unintentionally

negligent oversight.” Id. (citing City of Canton, 489 U.S. at 387). That

is, “municipal liability under § 1983 attaches where—and only where—

a deliberate choice to follow a course of action is made from among

various alternatives by city policymakers.” Goodman v. Harris Cty.,

571 F.3d 388, 396 (5th Cir. 2009) (quoting City of Canton, 489 U.S. at

389). Accordingly, a department’s decision not to implement a policy set


                                    35
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 36 of 132




forth in a proposal may constitute an official policy of failing to

implement such policy. See Valle, 613 F.3d at 545 (holding that

plaintiff presented sufficient summary judgment evidence to raise jury

issue as to “whether the department’s decision not to implement the

CIT training recommendations in [an internal] proposal constituted an

official policy of failing to adequately train.”).

      Here, Plaintiffs argue that the evidence shows that Chief Allen

was aware of the need for CIT units but chose not to implement them.

Resp. 46–49. In their briefs, Plaintiffs refer to “CIT” units, the “CIT”

model, “CIT” training, “CIT” teams, and “CIT” tactics. In some

references, “CIT” appears to stand for “Critical Intervention Training,”

Resp. 5, and at others, “crisis intervention team,” id. at 6, 46. Based on

the parties’ submissions, it appears that a “CIT” or “mental health” unit

refers to a formal program that deploys “CIT teams” in response to

mental health crises. In turn, CIT teams include at least one CIT-

trained officer or a mental health professional. For example, in the City

of Houston, a CIT team is “a multifaceted comprehensive law

enforcement program for responding to persons in mental health crisis.”

Resp. 5 (citing Resp. Ex. 5 (Houston Police Dep’t, Mental Health


                                      36
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 37 of 132




Division Website)). According to Plaintiffs, these “CIT teams pair a

uniformed officer with a licensed mental health professional to respond

to field officers’ calls for assistance.” Id.

      Additionally, “CIT” is also used to describe particular training,

tactics, and officers who have received such training. Plaintiffs direct

the Court to consider the significant evidence presented in Valle

regarding CIT training. Resp. 5 (citing Valle, 613 F.3d at 544).

Specifically, Plaintiffs quote testimony discussed in Valle by a

lieutenant in the Houston police department’s Mental Health Unit that

CIT training is “180 degrees different than . . . typical police officer and

law enforcement training.” Id. (quoting Valle, 613 F.3d at 545).

Furthermore, Plaintiffs describe what is involved in CIT training based

on the evidence discussed in Valle:

      For instance, situations involving mentally ill persons
      require a greater degree of patience and can require use of
      CIT tactics for periods as long as twenty-four hours. CIT-
      trained officers are trained not to ‘let the pressure of time be
      a factor in [their] decisionmaking.’

Id. As another Valle witness explained, CIT training provides police

officers with “appropriate de-escalation and communication tactics.” Id.

(quoting Valle, 613 F.3d at 545).


                                       37
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 38 of 132




      At the time of Mr. Salas-Sanchez’s death, the EPPD did not have a

CIT or mental health unit in place. Resp. 5 (citing Resp. Ex. 3, at 31

(Deposition Testimony of Gregory K. Allen)). Chief Allen had been

Chief of the EPPD for seven and a half years prior to Mr. Salas-

Sanchez’s shooting in April 2015, during which time police departments

in Houston, Dallas, Austin and San Antonio “already had crisis

intervention teams to increase their officers’ capacity to deescalate

situations involving the mentally ill to avoid the use of deadly force.”

Resp. 6 (citing Resp. Ex. 3, at 5; Resp. Exs. 5, 7, 8).

      Additionally, Chief Allen testified that the EPPD ultimately

created the CIT program in 2017 because of “the perception by certain

members of the public that the department was ill-equipped to deal

with mental health issues.” Resp. 6 (citing Ex. 3, at 20). As Chief Allen

elaborated, “This had been a concern over the years from various

members of the community and city council members, not only on my

term, but during past administrations of the police department.”11 Id.


11 Once again, the Court declines to consider whether the
implementation of a CIT program in 2017 is inadmissible evidence at
trial as a “subsequent remedial measure” pursuant to the Federal Rules
of Evidence Rule 407. See Fed. R. Evid. 407. Conversely, deposition
testimony related to attitudes prior to the incident might be admissible
                                     38
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 39 of 132




     Plaintiffs cite to several other pieces of evidence supporting the

reasonable inference that Chief Allen was aware of the existence of CIT

units prior to the April 2015 shooting, including his testimony that he

knew that Houston had implemented CIT units, his participation in

chief training, his testimony that he reads publications by the

International Association of Chiefs of Police and the Major Cities Chiefs

Associations, and his testimony regarding familiarity that other cities

have CIT programs in place. Resp. 6–7.

     Finally, Plaintiffs contend that the “need for CIT units was

specifically brought to Chief Allen’s attention fifteen months” prior to

the shooting when, on January 17, 2014, “Chief Allen received a

detailed “review from a non-profit organization—Disability Rights

Texas—informing him of the results of an investigation that they

conducted of an incident involving his officers using excessive force

against a mentally ill person, Michael Sosa.” Resp. 8 (citing Resp. Ex.

11 (Letter from Disability Rights Texas)). In the review, an attorney on

behalf of the organization explained that the EPPD officers tased,



despite having been prompted by questions regarding inadmissible
evidence.

                                    39
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 40 of 132




physically restrained, and punched Mr. Sosa in the face. Id. The

attorney was also of the opinion that “the EPPD had the opportunity to

consider or take other more appropriate measures short and prior to the

use of force, to deescalate the situation and failed to do so.” Id.

Accordingly, Disability Rights Texas:

      Ask[ed] the EPPD to re-examine its policies, procedures, and
      practices . . . [and ensure that] any in-house mental
      health/crisis response teams, e.g., CIT teams, certified
      mental health deputies, mobile crisis intervention units, are
      readily available, properly trained, and fully prepared to
      respond immediately and when necessary to address calls
      involving individuals with a mental health illness or
      [intellectual developmental disability] and in crisis.

Resp. Ex. 11, at 4.

      In its Reply, Defendant City of El Paso appears to argue that

there is no cognizable official policy as part of Plaintiffs’ claim that the

EPPD failed to implement a CIT unit. Specifically, Defendant City of

El Paso maintains that this case is distinguishable from Valle, in which

the Fifth Circuit held that the City of Houston’s decision not to

implement recommendations set forth in an internal proposal could

constitute an official policy of failing to adequately train. Valle,

613 F.3d at 544–45. Defendant argues, “Plaintiff has produced no



                                     40
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 41 of 132




evidence of an internal policy suggestion in the El Paso Police

Department that predates this incident.” Reply 3.

     However, the Fifth Circuit in Valle did not state that an internal

policy suggestion is the exclusive means by which an official

policymaker can become aware of a potential policy and deliberately

choose, as a form of official policy, not to implement such policy. That

is, the reasoning in Valle does not preclude the finding that a

policymaker’s awareness of a potential policy through means other than

an internal proposal and choice to decline to implement such policy,

could be considered an official policy.

     After due consideration, the Court is of the opinion that Plaintiffs

have provided sufficient summary judgment evidence to create a fact

issue as to whether the City had an official policy of not implementing a

CIT unit. According all reasonable inferences in favor of Plaintiffs, a

reasonable jury could conclude that Chief Allen was aware of the

existence of CIT units and the recommendation that the EPPD

implement such units. Therefore, the summary judgment record

suggests that Chief Allen had ample evidence to make an informed

decision regarding the outside policy proposal. Furthermore, his


                                    41
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 42 of 132




decision to disregard Disability Rights Texas’s recommendation, a little

over a year before Mr. Salas-Sanchez’s death, could be considered

deliberate.

        b. Moving Force Causation

     In order to succeed in a claim for municipal liability, a plaintiff

“must demonstrate a direct causal link between the municipal action

and the deprivation of federal rights.” Valle, 613 F.3d at 542 (quoting

Brown, 520 U.S. at 404). “[T]he connection must be more than a mere

‘but for’ coupling between cause and effect.” Id. at 546 (citing

Thompson v. Connick, 578 F.3d 293, 300 (5th Cir. 2009)). Rather, the

deficiency must be the “actual cause of the constitutional violation.” Id.

     Plaintiffs argue that “[e]vidence of the overall effectiveness of

mental health units combined with the events leading to the tasing and

shooting death of [Mr. Salas-Sanchez] raise significant fact issues that

Chief Allen’s failure to implement such units was a ‘moving force’ in the

death of [Mr. Salas-Sanchez].” Resp. 48. Specifically, Plaintiffs claim

that a CIT trained officer or paired mental health professional would

have recognized that the officers’ actions were the source of Mr. Salas-

Sanchez’s irritation and “would have likely resolved the encounter by


                                    42
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 43 of 132




simply leaving a referral to a mental health facility with [Mr. Salas-

Sanchez]’s mother which is what she was seeking in the first place.” Id.

Defendant City of El Paso argues that Plaintiffs’ position is based on a

“conjecture that the outcome might have been different.” Reply 7.

Further, Defendant City of El Paso suggests that Plaintiffs make the

unsubstantiated assertion that:

     [T]he outcome might have been different, IF the City had
     established CIT units, and IF a CIT unit was available at the
     time of this incident, and IF those CIT officers had made the
     scene in time, and IF they had chosen different tactics, and IF
     Erik Salas-Sanchez had reacted differently to the CIT officers.

Reply 7.

     At this juncture, the Court must construe evidence to draw all

reasonable inferences in the light most favorable to Plaintiffs.

Accordingly, as detailed in the Court’s Memorandum Opinion and Order

regarding the Defendant Officers’ motions for summary judgment, the

following is true for the purposes of resolving the instant motion: Prior

to the officer’s entry into the home, “Mr. Salas-Sanchez had insulted the

officers and asked them to leave but not threatened them.” Mem. Op.

and Order 59. Additionally, Mr. Salas-Sanchez was not holding any

object. Id. at 39. Furthermore, Mr. Salas-Sanchez “did not assault or


                                    43
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 44 of 132




threaten his mother.” Id. at 45. Subsequently, after the officers

entered the home, “Mr. Salas-Sanchez placed the object he was holding

(or his hands, if no object existed) on the table and then put his empty

hands in the air while walking away from the table. He walked into the

kitchen, where he was hit by Rivera’s taser probes.” Id. at 64. Next,

“Mr. Salas-Sanchez entered the hallway and walked toward his

bedroom. When Gomez shot Mr. Salas-Sanchez, Mr. Salas-Sanchez was

facing away from the officers.” Id. at 64–65.

      It is reasonable to infer that, if the EPPD had a CIT unit similar

to that of the City of Houston’s, a CIT team would have been deployed

and a CIT trained officer or mental health professional would have

employed de-escalation and communication techniques and

recommended that the officers not enter the home. Instead, when

resolving the factual disputes in favor of Plaintiffs, it is clear that the

opposite happened. The Defendant Officers entered the Salas-Sanchez’s

home and did not de-escalate the situation. Their subsequent use of

excessive force was the very thing CIT training and tactics were

designed to prevent. Therefore, the Court concludes that a reasonable

jury could determine that Defendant City of El Paso’s failure to


                                     44
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 45 of 132




implement a CIT program was a moving force of the unlawful entry and

use of excessive force in this case.

        c. Deliberate Indifference

     When a policy does not facially violate a federal right, a plaintiff

“must show that the policy was adopted or maintained with deliberate

indifference to the known or obvious fact that such constitutional

violations would result.” Johnson v. Deep E. Texas Reg’l Narcotics

Trafficking Task Force, 379 F.3d 293, 309 (5th Cir. 2004). In other

words, a plaintiff must show the municipal action reflects “the requisite

degree of culpability”—that is, “deliberate indifference to the risk that a

violation of a particular constitutional or statutory right will follow the

decision.” Valle, 613 F.3d at 542 (quoting Brown, 520 U.S. at 404, 411).

“Deliberate indifference is a high standard—‘a showing of simple or

even heightened negligence will not suffice.’” Id. (citing Piotrowski,

237 F.3d at 579). Establishing deliberate indifference “generally

requires that a plaintiff demonstrate at least a pattern of similar

violations.” Johnson, 379 F.3d at 309 (quoting Burge v. St. Tammany

Parish, 336 F.3d 363, 370 (5th Cir. 2003)).




                                       45
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 46 of 132




     In Valle, the Fifth Circuit held that the plaintiffs failed to link the

“potential for constitutional violations” in situations involving mentally

ill persons “to a pattern of actual violations sufficient to show deliberate

indifference.” Valle, 613 F.3d at 548. Notably, the internal proposal

recommending additional CIT training did “not detail any prior specific

instances of the use of excessive force by non-CIT officers.” Id.

Additionally, the Valle plaintiffs failed to “elicit testimony that City

officials were aware of prior shootings of unarmed mentally ill

individuals.” Id. Though the Valle plaintiffs presented testimony

demonstrating the assistant police chief was “aware of two shootings of

mentally ill persons that occurred after [the victim] was killed,” it was

deemed not sufficient evidence to survive summary judgment. As the

Valle Court explained, “[E]ven assuming that these later shootings

involved excessive force, they are not sufficient to show that the City

was on notice of similar constitutional violations before [the decedent]

was killed.” Id.

     Furthermore, evidence that merely suggested that “prior

shootings of mentally ill persons in fact had occurred” was deemed

insufficient when it failed to “establish a pattern of constitutional


                                     46
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 47 of 132




violations.” Id. Additionally, “[p]rior instances must point to the

specific violation in question; ‘notice of a pattern of similar violations is

required.’” Id. (quoting Davis, 406 F.3d at 383). Accordingly, based on

Valle, in order to show deliberate indifference, Plaintiffs must allege a

pattern of actual constitutional violations similar to the alleged

violations in this cause and demonstrate that Defendant City of El Paso

officials were aware of those constitutional violations.

          i.   Considering what constitutes a pattern

      In support of Plaintiffs’ theory of Monell liability based on Chief

Allen’s choice not to implement a CIT unit, Plaintiffs propose a “pattern

of cases” involving the EPPD, Resp. 49 n.18 (citing Resp. Sec. II(C)),

identifying eight instances where EPPD officers acted in accordance

with an alleged “[p]attern of use of excessive force against mentally ill

victims,” id. at 10. These eight instances encompass the following

victims: (1) Gregory Smith (2008); (2) Efrain Velasquez (2008);

(3) Daniel Rodrigo Saenz (2013); (4) Fernando Gomez (a.k.a. Mercedes

de Marco) (2013); (5) David Alejandro Gandara (May 2015); (6) Daniel

Ramirez (June 2015); (7) Arthur Williams (2016); and (8) Francisco




                                     47
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 48 of 132




Ramirez (2016).12 Plaintiff supports each instance with facts on the

record. Notably, Plaintiffs’ presentation of events that took place both

before and after the shooting of Mr. Salas-Sanchez pushes the Court

beyond Valle and into new territory.

     Defendant City of El Paso argues that “Valle makes clear,

subsequent incidents are not probative of causation for ‘conscious and

deliberate indifference’ . . . [e]ach of the incidents in a ‘pattern’ must be

prior.” Mot. 23 (citing Valle, 613 F.3d at 548). Therefore, Defendant

City of El Paso objects to the evidence of future instances on relevancy

and Federal Rules of Evidence Rule 403 grounds.13 Id. Having

considered Valle, the Court concludes that Defendant City of El Paso’s

interpretation overstates the Fifth Circuit’s reasoning.

     The Valle Court established that a claim may not survive

summary judgment when it relies exclusively on future instances. This


12Defendant City of El Paso objects to the use of instances “not pled in
Plaintiffs’ Amended Complaint.” Reply 19. The Court is unaware of
any requirement that all instances in an alleged pattern be present in
the Complaint. Therefore, the Court denies Defendant City of El Paso’s
objection without prejudice given the absence of relevant legal
precedent.

13The Court notes Defendant City of El Paso’s objection and denies it
without prejudice.
                                     48
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 49 of 132




is common sense, for the Court is unaware of any city official who can

divine the future. However, Plaintiffs in this case have provided prior

instances, addressing the Valle Court’s concerns. Furthermore, the

Court is inclined to consider future instances as still probative in

determining whether a “pattern” existed at the time of Mr. Salas-

Sanchez’s death. Thus, the inquiry is nuanced: might the future

instances permit a reasonable jury to conclude that any prior instance

was part of a pattern, and, if there was such a pattern, could Chief

Allen have known a pattern existed at the time of Mr. Salas-Sanchez’s

death?14

     To answer this question in the case at bar, the Court must now

consider when the character of a prior instance changes from that of an

isolated incident into that of one of a pattern of instances. It is possible

that the pattern might only reveal itself after Mr. Salas-Sanchez’s

death, a distinction that may be significant. Alternatively, this

distinction may be inconsequential if Chief Allen had sufficient

information at his disposal to know that any prior instance was part of


14Considering the facts of Valle, the answer to this question would be
no. Without a prior instance, the municipality could not have
anticipated that any victim’s death would be the first in a pattern.
                                     49
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 50 of 132




a pattern, even if the pattern had not run its course. Furthermore, if

future instances were admissible, a jury would have more evidence of a

pattern to consider than Chief Allen had at the time of Mr. Salas-

Sanchez’s death.

     These issues underscore the difficulty the Court has balancing

what it perceives as the dual purposes of finding a pattern. On the one

hand, a pattern is evidence regarding Defendant City of El Paso’s

actions prior to Mr. Salas-Sanchez’s death. It enables a jury to

determine the scope of available evidence that informed Defendant City

of El Paso’s actions at the time of the events giving rise to the cause of

action. On the other hand, a pattern is a legal requirement forming the

basis of a claim for relief. It defines the very nature of Mr. Salas-

Sanchez’s death pursuant to the laws of the United States. The Court

questions whether a jury should be limited to considering only evidence

relevant to the former at the expense of abundant evidence relevant to

the latter. Unfortunately, the Court is of the opinion that the law

provides few answers to these concerns.

     Simultaneously, the Court is uncertain whether the fact that Mr.

Salas-Sanchez’s death occurred early in a possible pattern would impact


                                    50
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 51 of 132




Plaintiffs’ claim for relief, rendering his death as the basis for a future

plaintiff’s Monell claim while insulating Defendant City of El Paso from

municipal liability in this case. Were the Court limited to only past

instances, a hypothetical plaintiff from a future instance in the pattern

could rely on Mr. Salas-Sanchez’s death to survive summary judgment,

while Plaintiffs in this case might lose summary judgment should the

prior instances not reveal a pattern on their own.15 Thus, the Court

contemplates how many instances of excessive force are necessary

before Defendant City of El Paso has earned the “requisite degree of

culpability” for possible municipal liability. Furthermore, the law is

unclear on whether it requires Defendant City of El Paso to answer for

all instances forming the pattern, or only the final few. This challenge

gets to the heart of the nebulous and ill-defined “deliberate indifference”

standard, one that is difficult to apply when prior instances do not




15For example, proof of a pattern might be stronger for the family of
Mr. Daniel Ramirez, who was tased while hanging himself from a
basketball hoop on June 23, 2015, because his death occurred two
months after Mr. Salas-Sanchez’s death. See Resp. 15. The Court
questions whether the nature of Defendant City of El Paso’s culpability
changes merely because Mr. Ramirez’s family may present an
additional instance to prove a pattern.
                                     51
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 52 of 132




indicate an obvious conclusion. Therefore, the Court is reluctant to

deny a plaintiff access to justice when the law does not so require.

     On this day, the Court could undertake the unenviable task of

predicting what the Fifth Circuit might prefer in this circumstance.

The Court declines to make such a prediction, concluding that the Fifth

Circuit is better suited to define the scope of its own jurisprudence.

Additionally, the Court is mindful that “summary judgment must be

used with due regard for its purposes and should be cautiously invoked

so that no person will be improperly deprived a trial of disputed factual

issues.” See 10A Mary Kay Kane, Fed. Prac. & Proc. Civ. § 2712 (4th

ed. 2019). Furthermore, “when a court is called upon to apply a legal

principle in a novel fashion, the potential impact of the decision and the

deleterious nature of the conduct called into question are relevant . . . a

more complete factual record is required.” Id. § 2725.

     The Court cannot overstate the seriousness of Plaintiffs’

allegations against Defendant City of El Paso. Were the Court to

expand the Fifth Circuit’s existing jurisprudence on municipal liability

to deny Plaintiffs an opportunity to make their case on the record, the

Court would risk committing an injustice when it is not legally bound to


                                    52
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 53 of 132




do so. Accordingly, the Court concludes that it would be preferable to

revisit the question of whether Plaintiffs have established a pattern

once their record is complete. See Fed. R. Civ. P. 50 (permitting a party

to move for judgment as a matter of law during a jury trial, “specify[ing]

the judgment sought and the law and facts that entitle the movant to

the judgment”). Should Plaintiffs fail to show a pattern at trial, the

question of future instances would be inconsequential for this case.

Should Plaintiffs receive a favorable jury determination, the Fifth

Circuit may have the opportunity to reconsider municipal liability on

appeal.

     After due consideration, the Court is of the opinion that Plaintiffs

have provided sufficient evidence that create genuine disputes of

material fact, and deny Defendant City of El Paso summary judgment

regarding its failure to implement a CIT program. Considering the

facts in the light most favorable to Plaintiffs, a reasonable jury could

determine that Chief Allen was deliberately indifferent that

constitutional violations may result if he did not implement a CIT

program. The Court arrives at this conclusion after developing a




                                    53
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 54 of 132




framework to determine when force is excessive, and applying that

framework to each of Plaintiffs’ cited instances.

         ii.   Defining excessive force

     When considering a Fourth Amendment excessive-force claim,

courts must apply the “objective reasonableness” standard to determine

whether an officer’s use of force amounted to an unconstitutional

seizure.16 Graham v. Connor, 490 U.S. 386, 388 (1989). In applying

Graham, the Fifth Circuit has required plaintiffs to show the subject of

the use of force “suffered (1) an injury that (2) resulted directly and only

from the use of force that was excessive to the need and that (3) the

force used was objectively unreasonable.’” Carroll v. Ellington, 800 F.3d

154, 173 (5th Cir. 2015) (quoting Flores v. City of Palacios, 381 F.3d

391, 396 (5th Cir. 2004)). Considering an excessive force claim is

“necessarily fact-intensive; whether the force used is ‘excessive’ or

‘unreasonable’ depends on ‘the facts and circumstances of each

particular case.’” Deville v. Marcantel, 567 F.3d 156, 167 (5th Cir. 2009)


16When deadly force is intentionally used against a person, the person
has been seized pursuant to the Fourth Amendment. See Terry v. Ohio,
392 U.S. 1, 20 n.16 (1968) (stating that when an officer “has in some
way restrained the liberty of a citizen” either “by means of physical
force or show of authority,” a seizure has occurred).
                                    54
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 55 of 132




(quoting Graham, 490 U.S. at 396). Furthermore, “[t]he

‘reasonableness’ of a particular use of force must be judged from the

perspective of a reasonable officer on the scene, rather than with the

20/20 vision of hindsight.” Graham, 490 U.S. at 396.

     Additionally, the Fifth Circuit has narrowed its application of

Graham to consider only those facts in existence at the moment an

officer chose to use force. Harris v. Serpas, 745 F.3d 767, 772 (5th Cir.

2014) (refusing to consider events that may have prompted the victim to

raise his weapon at an officer). Thus, the Court must not consider any

prior actions an officer may have taken that might have increased the

likelihood that they use a taser or firearm. See Cass v. City of Abilene,

814 F.3d 721, 731–32 (5th Cir. 2016) (citing Harris, 745 F.3d at 772)

(rejecting argument that the officers’ decision to execute a warrant with

their firearms drawn created a dangerous circumstance where the use

of excessive force was likely).

     In the context of mental illness, the Court is precluded from

considering whether an officer’s inadequate response to a mental health

crisis provoked the victim into acting aggressively. See Elizondo v.

Green, 671 F.3d 506, 511 (5th Cir. 2012) (DeMoss, C.J., concurring)


                                    55
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 56 of 132




(lamenting the narrow scope of excessive force law and suggesting that

“[e]ither law enforcement procedures or our law must evolve if we are to

ensure that more avoidable deaths do not occur at the hands of those

called to ‘protect and serve’”). Furthermore, once a mentally ill victim

has acted in such a way that the use of force would be objectively

reasonable, it is inconsequential whether the officers attempted to

“accommodate” the illness before using force. See City of San Francisco

v. Sheehan, 135 S. Ct. 1765, 1771, 1775 (2015) (disagreeing with the

lower court’s view that the officer should have used other means to de-

escalate the situation). Therefore, mental illness appears to factor very

little into an excessive force analysis, if at all.17


17The Court is mindful that Plaintiffs’ claims rely heavily on the
proposition that Defendant City of El Paso’s liability is predicated on its
failure to ensure EPPD officers de-escalate encounters with mentally ill
individuals. This argument occupies a gray area between the Fifth
Circuit’s separate Monell and Graham jurisprudences. Though
seemingly permissible as a claim for relief pursuant to Monell, it
simultaneously appears to be precluded pursuant to the Fifth Circuit’s
application of Graham. It is unclear to what extent this dissonance
impacts the viability and scope of Plaintiffs’ claims. Noticeably, the
Court considers it highly persuasive that the Fifth Circuit has
considered similar arguments in the past without questioning these
Fourth Amendment implications. Accordingly, the Court is of the
opinion that though a Graham analysis is necessary to consider Monell
in this case, the Fifth Circuit’s interpretation of Graham is not fatal to
Plaintiffs’ claims.
                                       56
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 57 of 132




     Accordingly, it is insufficient for Plaintiffs to allege a pattern of

instances where officers used tasers or firearms against mentally ill

individuals when de-escalation may have been an option. The law does

not account for mental illness or provide a separate test for what a

reasonable officer would do in response to a mental health crisis.

Instead, the pattern must consist of only those cases where an officer’s

use of a taser or firearm against a mentally ill individual was excessive

pursuant to the Fifth Circuit’s application of Graham. See Harris, 745

F.3d at 772 (narrowing Graham to consider only “the moment of the

threat”). Therefore, the Court shall apply this strict standard to

determine whether the facts of each cited instance, when considered in

the light most favorable to Plaintiffs, could support a finding of

excessive force. Should a sufficient number of instances indicate

excessive use of force, Plaintiffs will have adequately alleged a pattern

to survive summary judgment.

        iii.   Isolated instances where force was not excessive

     Plaintiffs have provided significant documentation for each

alleged instance, including but not limited to police reports, eyewitness

statements, interrogatories, and review board findings. See Resp.


                                     57
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 58 of 132




Sealed Exs. [hereinafter “Resp. Sealed”], June 28, 2019, ECF No. 180.

At summary judgment, the Court must consider the evidence in the

light most favorable to Plaintiffs, viewing each instance in isolation to

consider whether a reasonable jury could determine that there had been

excessive use of force in that specific event. Having considered the

evidence, the Court is of the opinion that a reasonable jury could not

determine that EPPD officers used excessive force in the matters of

Gregory Smith (2008), Efrain Velasquez (2008), David Alejandro

Gandara (2015), and Arthur Williams (2016). Though all four instances

share the similar thread of EPPD officers failing to de-escalate mental

health crises, each victim wielded a possible weapon in a threatening, or

violent, manner such that the use of force was objectively reasonable.

              A. Gregory Smith

     Regarding the shooting death of Gregory Smith on June 13, 2008,

an EPPD officer used his service firearm after Mr. Smith had drawn

what appeared to be a handgun and pointed it in the EPPD officer’s

direction. While on patrol, the EPPD officer observed Mr. Smith

behaving erratically in a motel parking lot. Resp. Sealed Ex. 16, at 42

(EPPD Shooting Review Team [hereinafter “SRT”] Form Three


                                    58
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 59 of 132




Narrative). After initiating a stop and interacting with Mr. Smith, the

EPPD officer concluded that Mr. Smith may have been mentally ill or

under the influence of narcotics. Id. The EPPD officer then conducted

a routine search of the police database, revealing that Mr. Smith had an

outstanding warrant for his arrest. Id.

     When the EPPD officer approached Mr. Smith to make the arrest,

Mr. Smith shouted twice that he possessed a gun, brandished what

appeared to be a silver handgun, and aimed it at the EPPD officer. Id.

at 42–43. Fearing for his safety, the EPPD officer took cover by the side

of his patrol vehicle, drew his service firearm, and proceeded to shoot at

Mr. Smith until he appeared to be incapacitated. Id. at 43. The EPPD

officer fired seventeen shots, eleven of which hit Mr. Smith. Id. at 48

(EPPD SRT Form Six Subject Report). Though investigators later

discovered that Mr. Smith’s weapon was merely a “toy gun wrapped in

duct tape,” id., there is no evidence that the EPPD officer was aware of

this fact at the time.

      Furthermore, because Plaintiffs have not provided any evidence

that contradicts the EPPD officer’s statement given to the EPPD

Shooting Review Team, there are no fact issues that need to be resolved


                                    59
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 60 of 132




in Plaintiffs’ favor. Accordingly, the Court concludes that it was

objectively reasonable for the EPPD officer to use his service firearm to

neutralize the perceived risk that his life was in danger. Therefore,

because the use of force was not excessive, the Court is of the opinion

that a reasonable jury could not determine that Mr. Smith’s shooting

death was the result of a constitutional violation that is part of a

pattern relevant in this case.

              B. Efrain Velasquez

     Regarding the shooting death of Efrain Velasquez on December

11, 2008, an EPPD officer used her service firearm after Mr. Velasquez

assaulted another EPPD officer with a kitchen knife. Three EPPD

officers arrived at the Velasquez’s residence after responding to a report

that Mr. Velasquez had threatened his neighbor with a knife. Resp.

Sealed Ex. 17, at 61 (EPPD SRT Form Three Narrative). Mr.

Velasquez’s mother informed the EPPD officers that she did not know

where her son was located. Id. She requested the EPPD officers find

Mr. Velasquez “due to the fact that he was schizophrenic.” Id. Shortly

thereafter, Mr. Velasquez’s mother discovered him in the master

bedroom of the Velasquez’s residence. Id. She invited two of the EPPD


                                    60
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 61 of 132




officers into the home and led them to Mr. Valasquez, who she said was

hiding from her. Id at 61–62.

     Once the two EPPD officers approached the master bedroom, they

discovered Mr. Velasquez with his back against a wall and his right

hand concealed. Id. at 62. One EPPD officer instructed Mr. Velasquez

to show his hands and drop any objects he may be holding, commands

that Mr. Velasquez refused to comply with. Id. Next, Mr. Velasquez

“raised a large kitchen knife up over his head, with the blade pointed

towards [the EPPD officer] and ran towards him . . . striking him in the

face with the knife.” Id. An intense altercation ensued, with the first

EPPD officer attempting to disarm Mr. Velasquez while avoiding

multiple knife lunges and swings. Id. Simultaneously, the second

EPPD officer drew her service firearm, explaining to the EPPD

Shooting Review Team that “she was afraid that [Mr. Velasquez] would

overpower [the first EPPD officer] and kill him.” Id. at 63. Ultimately,

the second EPPD officer fired one round into Mr. Velasquez’s abdomen.

Id. at 63; see also id. at 71 (EPPD SRT Form Six Subject Report). As a

result, the struggle ended and the first EPPD officer disarmed Mr.

Velasquez. Id. at 63 (EPPD SRT Form Three Narrative).


                                    61
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 62 of 132




     Similar to the matter of Gregory Smith, Plaintiffs have not

provided any evidence that contradict the witness statements made to

the EPPD Shooting Review Team. The Court is mindful that the many

witnesses’ perspectives contained therein differ in some respects.

Accordingly, the Court, having considered the salient uncontested facts,

determines that the inconsistencies between witnesses do not pertain to

whether Mr. Velasquez had attacked the first EPPD officer with a knife

before the shooting. Accordingly, the Court is of the opinion that it was

objectively reasonable for the second EPPD officer to use her service

firearm to neutralize the deadly threat Mr. Velasquez posed to the first

EPPD officer. Therefore, the use of force was not excessive, and a

reasonable jury could not conclude that Mr. Velasquez’s shooting death

was the result of a constitutional violation that is part of a pattern

relevant to this case.

              C. David Alejandro Gandara

     Regarding the shooting death of David Alejandro Gandara on May

21, 2015, two EPPD officers used their service firearms after observing

Mr. Gandara reach into what the EPPD officers believed was a gun

case. Four EPPD officers responded to a report that there was a subject


                                    62
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 63 of 132




with a gun in public and that the “subject had a rifle or shotgun to his

own head.” Resp. Sealed Ex. 31, at 44 (Witness Sworn Statement of

First EPPD Officer); see also Resp. Sealed Ex. 32, at 48 (Witness Sworn

Statement of Second EPPD Officer) (recalling that the report said the

subject had a rifle); Resp. Sealed Ex. 34, at 57 (Witness Sworn

Statement of Third EPPD Officer) (recalling that the report said the

subject had a rifle or shotgun). The first and second EPPD officers

arrived first and discovered Mr. Gandara urinating on the side of a

building in an alleyway. Resp. Sealed Ex. 31, at 44–45; Resp. Sealed

Ex. 32, at 49. Both EPPD officers chose to carry rifles in response to the

report that Mr. Gandara was armed. Resp. Sealed Ex. 31, at 44; Resp.

Sealed Ex. 32, at 49. By the time the third EPPD officer arrived, Mr.

Gandara was behaving erratically. Resp. Sealed Ex. 31, at 44; Resp.

Sealed Ex. 32, at 49; Resp. Sealed Ex. 34, at 57. He paced back and

forth, kept a hand concealed in his shorts, and ignored commands to

stop and raise his hands. Resp. Sealed Ex. 31, at 45; Resp. Sealed Ex.

32, at 49; Resp. Sealed Ex. 34, at 57. The first and second EPPD

officers continuously aimed their rifles at Mr. Gandara during these

moments. Resp. Sealed Ex. 31, at 44 (“I had my weapon aimed at the


                                    63
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 64 of 132




subject . . . because the comments of the call stated the subject had a

rifle or shotgun on his person . . . .”); Resp. Sealed Ex. 32, at 49 (“The

subject was very wide eyed and didn’t appear phased at my presence or

the fact that I had a rifle pointed at him . . . it made me uneasy.”).

     Subsequently, the fourth EPPD officer arrived at the opposite end

of the alleyway, containing Mr. Gandara inside. Resp. Sealed Ex. 32, at

49; Resp. Sealed Ex. 34, at 57. Mr. Gandara turned to the fourth EPPD

officer and began to approach him in the same manner that Mr.

Gandara had approached the first and second EPPD officers. Resp.

Sealed Ex. 32, at 49. The third EPPD officer began giving commands in

Spanish, slowly approaching Mr. Gandara to get within an effective

taser distance. Resp. Sealed Ex. 34, at 57. Mr. Gandara ignored the

commands, choosing instead to approach the rear of a truck parked in

the alleyway. Resp. Sealed Ex. 31, at 45; Resp. Sealed Ex. 32, at 49;

Resp. Sealed Ex. 34, at 57. The three EPPD officers who gave sworn

statements all observed Mr. Gandara reach into the truck bed and

retrieve what appeared to be a black rifle case. Resp. Sealed Ex. 31, at

45; Resp. Sealed Ex. 32, at 50; Resp. Sealed Ex. 34, at 57. Responsively,

the second EPPD officer warned Mr. Gandara, “Don’t do it!” and


                                     64
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 65 of 132




instructed him to put down the case. Resp. Sealed Ex. 31, at 45; Resp.

Sealed Ex. 32, at 50. When Mr. Gandara continued to reach into the

case, both the first and second EPPD officers fired their rifles and Mr.

Gandara collapsed on the ground. Resp. Sealed Ex. 31, at 45, Resp.

Sealed Ex. 32, at 50 (“Fearing that the subject was accessing a weapon

and not knowing the weapon’s orientation in the case,” the second

EPPD officer was concerned for his and his fellow EPPD officers’

safety); Resp. Sealed Ex. 34 at 58 (“I observed a[n] entry wound to his

right chest and right side of his head by his ear. The subject was

unresponsive.”).

     Once again, Plaintiffs have not provided any evidence to question

the accuracy or veracity of the EPPD officers’ sworn statements about

Mr. Gandara’s shooting. Furthermore, all three EPPD officers provide

similar accounts. The EPPD officers were on notice that Mr. Gandara

may be armed, observed Mr. Gandara behave erratically, attempted to

gain Mr. Gandara’s cooperation through verbal instructions, and fired

their service weapons only after Mr. Gandara reached for what

appeared to be a weapon of his own. Accordingly, the Court concludes

that it was objectively reasonable for the first and second EPPD officers


                                    65
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 66 of 132




to fire their service weapons in response to the apparent threat Mr.

Gandara posed to their safety. Thus, the use of force was not excessive,

and a reasonable jury could not determine that Mr. Gandara’s death

was one of a pattern of cases relevant to this case.

              D. Arthur Williams, Jr.

     Regarding the shooting death of Arthur Williams, Jr., on May 9,

2016, two EPPD officers used their service firearms when Mr. Williams

pointed what appeared to be a gun in the EPPD officers’ directions. The

EPPD officers made two trips to the Williams’ residence the day of the

shooting. Resp. Sealed Ex. 49, at 104 (Witness Sworn Statement of

Arthur Williams, Jr.’s Mother) [hereinafter “Ms. Williams’ Statement”];

Resp. Sealed Ex. 51, at 4 (SRT Report) [hereinafter “Williams SRT

Report”]. That morning, Mr. Williams’ mother entered an EPPD police

station to request help with transporting Mr. Williams to a behavioral

clinic. Ms. Williams’ Statement 105. The two had participated in a

domestic dispute that Mr. Williams’ mother attributed to her son’s

diagnosed bipolar disorder, depression, and schizophrenia. Id. at 104–

5. As a result, two EPPD officers visited the Williams’ residence “to

determine if [Mr.] Williams could be taken into custody under an EDO


                                    66
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 67 of 132




as no assault was alleged.” Williams SRT Report 4. After a brief

exchange with Mr. Williams, the EPPD officers determined that the

situation did not permit them to execute an EDO and the EPPD officers

left the Williams’ residence.18 Ms. Williams Statement 105; Williams

SRT Report 4.

     Shortly thereafter, Mr. Williams’ mother called the EPPD and

reported that Mr. Williams had continued to act out at her once the two

EPPD officers left the Williams’ residence. Ms. Williams Statement

105. Additionally, Mr. Williams’ mother indicated that Mr. Williams

was holding what appeared to be a handgun, and she “heard shots like

caps, sounded like they were just going off.” Id. A dispatcher relayed

this report as “a[n] aggravated assault in progress . . . the subject had a

gun and that shots had been fired inside the home.” Williams SRT

Report 4. Subsequently, a number of EPPD officers responded to the

report, including the two who had just left the Williams’ residence. Id.

The two EPPD officers joined with the others to form a perimeter




18The record is incomplete on how the EPPD officers made the decision
not to execute an EDO and the standard for seizures by which they
operated.
                                    67
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 68 of 132




around the Williams’ Residence, as a third EPPD officer attempted to

speak with Mr. Williams, who was still inside. Id. at 4–5.

     At some point, Mr. Williams exited the front door of the Williams’

residence and stood in the front yard, holding the same handgun his

mother had reported to the EPPD. Ms. Williams’ Statement 106. He

pointed the handgun at various EPPD officers, ignoring their

commands to drop the weapon. Id. (recalling that the EPPD officers

said “drop it at least more than five times”); Williams SRT Report 4. In

response, the two EPPD officers who had been involved in this matter

from the beginning each used their service firearms. Williams SRT

Report 4 (“[Mr.] Williams fell to the ground where he was immediately

secured” and the EPPD officers attempted to get him prompt medical

attention). Further investigation revealed that Mr. Williams had been

wielding an air pistol. Resp. Sealed Ex. 50, at 2 (Sworn Statement

Search Warrant Executed).

     As with the previous instances, Plaintiffs have not provided any

additional evidence that would controvert the facts laid out in Mr.

Williams’ mother’s sworn statement and the EPPD Shooting Review

Team Report. Additionally, the statement appears to be consistent with


                                    68
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 69 of 132




the report. Two EPPD officers arrived at the Williams’ residence to

assess whether they should execute an EDO on Mr. Williams. Having

determined that an EDO was inappropriate, the EPPD officers left the

Williams’ residence. Subsequently, the two EPPD officers returned to

the Williams’ residence in response to reports of a violent crime

involving a firearm. Then, Mr. Williams confronted the EPPD officers,

waving what appeared to be a handgun. The EPPD officers instructed

Mr. Williams multiple times to drop the handgun, instructions that Mr.

Williams ignored.

     The Court is mindful of the low probability that the EPPD officers

could have known that the handgun was merely an air pistol.

Accordingly, the Court is of the opinion that it was objectively

reasonable for the two EPPD officers to use their service firearms to

neutralize the perceived deadly threat to themselves and their fellow

EPPD officers. Therefore, a reasonable jury could not determine that

the shooting death of Mr. Williams was part of a pattern of instances as

relevant to this case.

     The Court does not intend to diminish the tragedies resulting

from the shooting deaths of Mr. Smith, Mr. Velasquez, Mr. Gandara,


                                    69
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 70 of 132




and Mr. Williams. It is clear that each had their own personal

challenges, not just those expressed, but possibly others. It is also clear

that following a confrontation with law enforcement, these men

responded with a threat, or in the case of Mr. Velasquez an act, of

violence. The Court is sympathetic to Plaintiffs’ position that each of

these deaths might have been avoided had a CIT team been present to

de-escalate the situation. Arguably, it is possible that a CIT team

would have diminished the chances that each man would brandish a

weapon. Unfortunately, once these men resorted to perceived violence,

they arguably posed an imminent threat to EPPD officers. In each

circumstance, the EPPD officers responded with deadly force, to be

assessed pursuant to the objective reasonableness standard. Therefore,

pursuant to the laws of the Fifth Circuit, the Court considers each event

abstractly, limited to a few seconds, devoid of the larger context.

     Furthermore, the Court does not question that all members of law

enforcement have the right to defend themselves and the public from

the threat of violence. One would be hard-pressed to challenge the

EPPD officer who chose to use her service firearm to save her fellow

EPPD officer from Mr. Velasquez; she acted after Mr. Velasquez


                                    70
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 71 of 132




stabbed her colleague with a kitchen knife. Simultaneously, the Court

is mindful of the possibility that an officer could use “objectively

reasonable” force in response to a dangerous situation of the officer’s

own making. Bound by Fifth Circuit precedent, the Court cannot

consider such a circumstance as grounds for relief. Though reasonable

minds may disagree as a matter of judicial equity, the Court is of the

opinion that the law is clear. Having considered the evidence before it,

the Court concludes that the shooting deaths of Mr. Smith, Mr.

Velasquez, Mr. Gandara, and Mr. Williams were not the result of

constitutional violations as relevant to this case.19

         iv.   A pattern of constitutional violations

     The respective shooting victims in the above-stated instances acted

in a manner that insulates Defendant City of El Paso from scrutiny for

the EPPD officers potentially escalating actions in those cases.

Conversely, when considering the facts in the light most favorable to

Plaintiffs, the remaining instances of Daniel Rodrigo Saenz (2011),

Fernando Gomez (a.k.a. Mercedes de Marco) (2013), Daniel Ramirez


19Additionally, the Court anticipates a ruling that any evidence of these
four instances for purposes of proving a pattern of constitutional
violations is inadmissible at trial.
                                     71
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 72 of 132




(2015), and Francisco Ramirez (2016), involve EPPD officer conduct

that arguably increased the likelihood that EPPD officers would use

force in a manner that was not objectively reasonable. In each instance,

the victims did not present the kind of threat to EPPD officers that

would implicate the Fifth Circuit’s excessive force jurisprudence and

preclude a consideration of the EPPD officers’ prior conduct. Therefore,

these matters should permit Plaintiffs to proceed to trial on a Monell

liability claim predicated on the theory that Defendant City of El Paso

was deliberately indifferent when it failed to implement a CIT program.

              A. Daniel Rodrigo Saenz

     Regarding the shooting death of Daniel Rodrigo Saenz on March 8,

2013, an EPPD officer used his service firearm while Mr. Saenz was in

custody and not posing a threat that would warrant the use of such

force.20 The EPPD officer first interacted with Mr. Saenz in a holding

cell shortly after Mr. Saenz had been arrested for assault. Resp. Sealed




20The Court is mindful that it presided over much of the subsequent
civil suit that Mr. Saenz’s family filed against Defendant City of El Paso
and the individuals involved. See Saenz v. Flores, EP-14-CV-244-DCG
(W.D. Tex. Sept. 27, 2019). Accordingly, the Court has taken great care
to only consider those facts presented for summary judgment, and
today’s Order is based solely on the record in this case.
                                    72
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 73 of 132




Ex. 18, at 76 (EPPD Internal Affairs Division Case Summary Report).

At the time, Mr. Saenz was calm and nonresponsive, giving a

supervising EPPD officer the “impression that he was under some form

of a narcotic or substance[;] under the influence of any medication.”

Resp. Sealed Ex. 19, at 81 (Shooting Review Board [hereinafter “SRB”]

Testimony of Supervising EPPD Officer). Additionally, Mr. Saenz was

partially unclothed because he had “urinated himself two to three

times.” Resp. Sealed Ex. 20, at 86 (SRB Testimony of Shooting EPPD

Officer). The EPPD officer helped transport Mr. Saenz from a distant

police command center to the downtown El Paso County Jail

[hereinafter “EPCDF”], during which time Mr. Saenz asked the EPPD

officer to “shoot him.” Resp. Sealed Ex. 24, at 8 (Notice of Termination

of Employment). “[Mr.] Saenz, at all relevant times, was double-cuffed

behind his back.” Id.

    Soon thereafter, the EPCDF refused to accept Mr. Saenz because of

a head injury he sustained when he lunged at a door upon his arrival at

the facility. Id. The EPPD officer and a private security guard then

began to escort Mr. Saenz to a hospital for treatment. Id. The two had

to drag Mr. Saenz because he was unable or unwilling to walk as a


                                    73
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 74 of 132




result of the head injury. Id. Once outside the El Paso County Jail, Mr.

Saenz resisted, falling to the ground while still in handcuffs. Id. After

a brief struggle, the EPPD drew his service firearm and shot Mr. Saenz

from a short distance. Id. at 9. Chief Allen determined that the EPPD

officer’s use of force was not objectively reasonable. Id. at 10.

     It is clear that Mr. Saenz was mentally unstable, physically

incapacitated, and could not pose a serious threat of harm to the EPPD

officer. Rather than de-escalate the situation, the EPPD officer

responded to the slightest amount of resistance with deadly force. Chief

Allen’s subsequent determination that the EPPD officer acted outside of

policy does not negate the possibility that the outcome may have been

different had there been a CIT team to pacify Mr. Saenz and gain his

cooperation at any point that day. Therefore, a reasonable jury could

determine that the shooting death of Mr. Saenz was part of a pattern of

constitutional violations as relevant to this case.

              B. Fernando Gomez (a.k.a. Mercedes de Marco)

     Regarding the arrest, tasing, and death of Fernando Gomez (a.k.a.

Mercedes de Marco) on October 13, 2013, an EPPD officer tased Mr.

Gomez who was on the ground, in handcuffs, and resisting arrest. In


                                     74
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 75 of 132




the early-morning hours, EPPD officers responded to a report of “family

violence in progress.” Resp. Sealed Ex. 27, at 21 (Witness Sworn

Statement of Responding Officer). The first EPPD officer to arrive

observed Mr. Gomez standing outdoors screaming. Id. Earlier that

evening, a friend of Mr. Gomez noticed that he was “acting a little

strange and paranoid.” Resp. Sealed Ex. 26, at 18 (Witness Sworn

Statement of Friend). When the first EPPD officer asked if Mr. Gomez

needed help, Mr. Gomez responded with what the EPPD officer

described as “a thousand yard stare and took off running . . . toward the

office door of [a nearby hotel.]” Resp. Sealed Ex. 27, at 21. Once at the

door, Mr. Gomez “continued to act erratically by screaming, breathing

heavily, clawing at the glass of the door, and pacing quickly in front of

the door.” Id.

     Subsequently, more EPPD officers arrived and attempted to take

Mr. Gomez into custody. Id. at 22. After initially resisting before the

EPPD officers were able to handcuff them, Mr. Gomez then “became to

a degree compliant” before he “began to scream and attempt to break

away from the officers.” Id. Next, Mr. Gomez “let his body go limp” and

dropped to the ground, continuing to resist by “kicking his legs,


                                    75
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 76 of 132




swinging his head, and shifting his body weight.” Id. A large

individual, “it took about six or seven officers to pick up Mr. Gomez due

mainly to his size and also his combativeness which made it almost

impossible.” Id.

     The second relevant EPPD officer in this matter chose to threaten

Mr. Gomez with the use of force to coax their compliance. Resp. Sealed

Ex. 28, at 27–28 (EPPD Internal Affair Division, Statement of Second

Officer) (“I thought that by Tazing Mr. Gomez, that we would get some

compliance and be able to place him in the patrol unit with less effort.”).

During a subsequent investigation of this incident, the second EPPD

officer stated that he “had dealt with him on other occasions where Mr.

Gomez had the same behavior so I just assumed this was just another

encounter with him.” Id. The second EPPD officer warned Mr. Gomez

three times that if he refused to comply, the second EPPD officer would

tase him. Resp. Sealed Ex. 27, at 22. According to the first EPPD

officer,Mr. Gomez responded “you are going to have to taser me.”




                                    76
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 77 of 132




Subsequently, the second EPPD officer tased Mr. Gomez twice while he

was still lying on the ground in handcuffs.21 Id.

     Similar to the matter of Mr. Saenz, Mr. Gomez was clearly in some

form of mental distress from the moment the first EPPD officer arrived

at the scene. He behaved erratically, both verbally and physically. In

response, EPPD officers chose to physically restrain Mr. Gomez rather

than de-escalate the situation by other means. Mr. Gomez reacted to

the EPPD officers’ attempts poorly, resisting arrest and posing a degree

of physical danger. By the time the second EPPD officer chose to tase

Mr. Gomez, he was lying on the ground in handcuffs. To the second




21 Mr. Gomez died in custody a short time later. Resp. Sealed Ex. 29, at
35 (EPPD Incident Investigation Report). An autopsy determined his
cause of death to be “cocaine toxicity.” Mot. Ex. A-6 (Autopsy Report),
at 9, May 1, 2019, ECF No. 143-8. Accordingly, the record indicates
that Mr. Gomez’s death is not the result of the second EPPD officer’s
use of a taser. Therefore, his death is irrelevant to the Court’s analysis
in this case.
      Simultaneously, the autopsy report indicates that Mr. Gomez had
“small abrasions” on the back likely caused by the taser. Id. at 8.
Courts have held that at least “some injury” is necessary to serve as the
basis of an excessive force claim, to be considered in the context of
whether the force “is constitutionally permissible under the
circumstances.” Ikerd v. Blair, 101 F.3d 430, 434–35 (5th Cir. 1996)
(citing Hudson v. McMillian, 503 U.S. 1, 7 (1992)). Accordingly, for
purposes of summary judgment, the Court concludes that Mr. Gomez
suffered an injury from the use of force.
                                    77
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 78 of 132




EPPD officer’s credit, it appears that Mr. Gomez continued to physically

resist. Simultaneously, the second EPPD officer had interacted with

Mr. Gomez in the past and stated that he tased Mr. Gomez only after

“becom[ing] fatigued” from attempting to take him into custody by

lesser means. Resp. Sealed Ex. 28, at 27.

     Furthermore, multiple EPPD officers were still present to assist,

and this use of force might have been in a manner that a reasonable

jury could determine was out of a desire for expedience, not as a

reasonably objective response to an “immediate threat.” See Ramirez v.

Martinez, 716 F.3d 369, 377–78 (5th Cir. 2013) (holding that a detainee

may not have posed an immediate threat once he was handcuffed, even

if he resisted to some extent). The second EPPD officer did so with the

belief that this was a routine interaction with Mr. Gomez. Once again,

when faced with resistance while responding to a mental health crisis,

an EPPD officer resorted to using his taser rather than de-escalating

the situation. Accordingly, the Court is of the opinion that a reasonable

jury could determine that the tasing of Mr. Gomez was a constitutional

violation that is part of a pattern of instances relevant to this case.




                                     78
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 79 of 132




              C. Daniel Ramirez

     Regarding the tasing and subsequent death of Mr. Daniel Ramirez

[hereinafter “Mr. Daniel Ramirez”]22 on June 23, 2015, an EPPD officer

deployed his taser while Mr. Daniel Ramirez attempted suicide by

hanging from a basketball hoop. That night, an EPPD officer arrived at

the Ramirez’s residence in response to a report of a suicide in progress.

Resp. Sealed Ex. 42, at 90 (Witness Sworn Statement of Responding

Officer). During the subsequent investigation, the EPPD officer stated

that the report indicated the “subject was going to be in the back yard

. . . [and] had weapon.” Id. Upon entering the backyard with his

service firearm drawn, the EPPD officer observed Mr. Daniel Ramirez

hanging from a basketball hoop with a rope around his neck. Id. Both

of Mr. Daniel Ramirez’s hands were squeezed tightly around the rope,

and “he was standing on the tip of his toes.” Id. at 90–91. The EPPD

officer told the investigator that he instructed Mr. Daniel Ramirez to

show his hands because it was difficult to determine if he was holding a




 The Court shall refer to both Mr. Daniel Ramirez and Mr. Francisco
22

Ramirez by their full names to differentiate between the two instances.
                                    79
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 80 of 132




weapon in his palms. Id. Mr. Daniel Ramirez did not follow the EPPD

officer’s instructions. Id.

     Next, the EPPD officer began to approach Mr. Daniel Ramirez. Id.

As he later described to the investigator, the EPPD officer assessed the

situation and noted the following conditions: (1) he had been advised

that Mr. Daniel Ramirez may be armed; (2) it was dark in the backyard;

(3) Mr. Daniel Ramirez refused to show his hands; and (4) Mr. Daniel

Ramirez may kick the EPPD officer if in range. Id. Accordingly, the

EPPD officer holstered his service firearm and drew his taser. Id. Once

he was within five feet of Mr. Daniel Ramirez, the EPPD officer fired

his taser into Mr. Daniel Ramirez’s abdomen. Id. Mr. Daniel Ramirez

was still hanging from the basketball hoop. Id. The EPPD officer then

struggled to remove the noose from the now limp Mr. Daniel Ramirez,

who died shortly thereafter. Id.

     When considering the EPPD officer’s own description of the events

that precipitated Mr. Daniel Ramirez’s death, it is clear to the Court

that a reasonable jury could determine that the EPPD officer’s actions

were not objectively reasonable. Arguably, it should have been obvious

to the EPPD officer that Mr. Daniel Ramirez was in a most dire mental


                                    80
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 81 of 132




state; he was attempting to end his own life. Additionally, given the

likelihood that Mr. Daniel Ramirez was primarily focused on the task at

hand, it is improbable that he contemplated surprising the EPPD officer

with a concealed weapon or kick. At first, the EPPD officer was likely

at a sufficient distance where such a threat was limited, if not

impractical. Furthermore, the EPPD officer made the autonomous

decision to approach Mr. Daniel Ramirez and tase him, rather than

attempt to talk him down from the proverbial ledge, or in this case, the

basketball hoop. After due consideration, the Court is of the opinion

that a reasonable jury could determine that the EPPD officer’s decision

to use his taser was excessive. Accordingly, the matter of Mr. Daniel

Ramirez could be one of a pattern of constitutional violations as

relevant to this case.

              D. Francisco Ramirez

     Regarding the shooting of Mr. Francisco Ramirez on November 5,

2016, an EPPD officer used his service firearm when he observed Mr.

Francisco Ramirez behave erratically while holding a boxcutter. That

afternoon, an EPPD officer responded to a request to conduct a welfare

check of a man who had expressed thoughts of suicide. Resp. Sealed Ex.


                                    81
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 82 of 132




54, at 19 (Event Chronology). Arriving at Mr. Francisco Ramirez’s

parents’ residence, the EPPD officer approached the backyard and

discovered Mr. Francisco Ramirez sitting on the back bumper of a

parked van. Resp. Sealed Ex. 58, at 115 (Witness Sworn Statement of

Responding Officer). The EPPD officer positioned himself behind a

dumpster near the van. Id. at 116.

     The EPPD officer told investigators that Mr. Francisco Ramirez

was holding “a knife with a blue handle that appeared to be 8 inches in

his right hand . . . with his closed fist and making a rapid, jerking

motion, upward and downward as though he was practicing using it.”

Id. at 116. Later, the detective assigned to investigate the scene

discovered both a boxcutter with a blue handle and folding knife with

the blade extended. Resp. Sealed Ex. 59, at 120 (Incident Investigation

Report, Scene Detective). Additionally, an EPPD sergeant told

investigators that the knife belonged to, and was dropped in error by,

another EPPD officer at the scene.23 Resp. Sealed Ex. 60, at 124




23Though the Court finds it concerning that these facts suggest that an
EPPD officer may have planted a folding knife at the scene, at summary
judgment the Court must presume that Mr. Ramirez was holding a
boxcutter. Furthermore, the Court is uncertain of the Federal Rules of
                                    82
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 83 of 132




(Witness Sworn Statement of EPPD Sergeant). Subsequently,

investigators determined that Mr. Francisco Ramirez had been holding

a box cutter. Resp. Sealed Ex. 64, at 137 (Supplemental Report).

    Ultimately, the EPPD officer fired his service firearm three times,

though the circumstances are in dispute. The EPPD officer claimed

that Mr. Francisco Ramirez ignored verbal commands to drop the

boxcutter, began to approach, then lunged, thrusting the boxcutter

towards the EPPD officer. Resp. Sealed Ex. 58, at 116. Mr. Francisco

Ramirez’s brother told investigators that Mr. Francisco Ramirez “was

holding something to his neck and he was telling the officer to leave”

and that he was “standing on the other side of the van towards the

back” as the EPPD officer remained by the dumpster when he used his

service firearm. Resp. Sealed Ex. 57, at 111 (Witness Sworn Statement

of Mr. Francisco Ramirez’s Brother). Furthermore, Mr. Francisco

Ramirez’s brother makes no mention of the assault that the EPPD

officer describes. One bullet made contact with Mr. Francisco Ramirez,




Evidence Rule 403(b) implications for Defendant City of El Paso should
Plaintiffs attempt to admit evidence of the folding knife.
                                    83
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 84 of 132




just below his left eye, before travelling through his mouth, neck, and

shoulder. Resp. Sealed Ex. 59, at 120.

     When considering the facts in the light most favorable to Plaintiffs,

the EPPD officer used his service firearm from a distance while Mr.

Francisco Ramirez stood still with a boxcutter held to his neck. The

EPPD officer did so with the understanding that Mr. Francisco Ramirez

was suicidal, and apparently on the cusp of taking his own life. Similar

to the circumstances of the tasing of Mr. Daniel Ramirez, the EPPD

officer chose to use his service firearm rather than de-escalate the

situation. Furthermore, Mr. Francisco Ramirez did not pose the type of

imminent threat that would make the EPPD officer’s use of force

objectively reasonable. Therefore, the Court is of the opinion that a

reasonable jury could determine that Mr. Francisco Ramirez’s death is

one of a pattern of constitutional violations as relevant to this case.

     Should Plaintiffs succeed in proving that the matters of Mr. Daniel

Saenz, Mr. Gomez, Mr. Daniel Ramirez, and Mr. Francisco Ramirez are

instances of unconstitutional excessive use of force, Plaintiffs will have

presented substantial evidence that the EPPD relied too frequently on

tasers and handguns when responding to mental health crises. A


                                    84
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 85 of 132




reasonable jury could conclude that EPPD officers chose force because a

CIT response was not an option. These four instances could show a

pattern of constitutional violations.

     As the Court articulated when it denied Defendant City of El

Paso’s Motion to Dismiss, these instances “evince a strikingly similar

pattern of force.” Mem. Op. & Order Den. Def. City of El Paso’s Mot. to

Dismiss 22, Oct. 6, 2017, ECF No. 46. Therein, the Court noted that

when EPPD officers respond to reports that individuals are suffering

from mental health crises, they “almost immediately resort to force

without attempting any sort of de-escalation.” Id. at 23. “They either

tase the individual . . . or shoot him or her with their service weapons.”

Id. After extensive discovery, the Court concludes that Plaintiffs have

produced sufficient evidence to support the pattern claimed in their

Complaint.

     Furthermore, Chief Allen may have been able to recognize this

pattern after the deaths of Mr. Saenz and Mr. Gomez. He was aware of

concerns the community had regarding EPPD responses to mental

illness, as well as other cities’ implementation of CIT teams.

Accordingly, a reasonable jury could determine that these two deaths


                                    85
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 86 of 132




should have put Chief Allen on notice that a change was necessary,

such that he was deliberately indifferent to the risk of constitutional

violations by the time of Mr. Salas-Sanchez’s death. Additionally, the

subsequent tasing death of Mr. Daniel Ramirez and the shooting of Mr.

Francisco Ramirez support the conclusion that not only was Chief Allen

deliberately indifferent at the time of Mr. Salas-Sanchez’s death, he

continued to be deliberately indifferent thereafter.

     Accordingly, the Court concludes that Plaintiffs have satisfied the

Monell requirements to survive summary judgment. The Court finds

that a reasonable jury could determine that (1) Defendant City of El

Paso chose to not implement a CIT program; (2) a CIT program may

have prevented the unconstitutional use of force against Mr. Salas-

Sanchez; and (3) Chief Allen supported this decision while deliberately

indifferent to the risk that EPPD officers would use excessive force

against mentally ill individuals suffering from a mental health crisis.

Therefore, after due consideration, the Court is of the opinion that

Defendant City of El Paso’s Motion should be denied as to its decision to

not create a dedicated mental health unit, such that it could serve as a

basis for Plaintiffs’ claims for relief.


                                       86
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 87 of 132




  B. Failure to Properly Investigate and Discipline Officers
     Involved in Excessive Use of Force Cases

     Plaintiffs’ second theory alleges that the EPPD, and Chief Allen

specifically, failed to properly investigate and discipline officers who

may have used excessive force. As a result, Defendant City of El Paso

had an “unwritten policy of leniency . . . that emboldened officers to

engage in the unconstitutional conduct” that led to Mr. Salas-Sanchez’s

death. Resp. 50. In support of their argument, Plaintiffs advance a

number of Chief Allen’s alleged decisions in support of this policy:

(1) protecting and failing to discipline former EPPD Officer Jorge

Gonzalez [hereinafter “Mr. Gonzalez”] despite him having a history of

misconduct; (2) failing to implement proper investigative techniques to

ensure that the SRB24 has a complete record to rely on when making a

determination on whether a use of force was excessive; (3) preventing

the El Paso District Attorney’s Office from participating in EPPD

investigations of officer-involved shootings; (4) failing to properly use an

internal system to monitor allegations of the excessive use of force; and




24 EPPD   Shooting Review Board.
                                    87
       Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 88 of 132




(5) failing to discipline the EPPD officers involved in the pattern of

cases identified in the prior section of this Order. Resp. 50–61.

        Courts have held that a failure to investigate or discipline can be

the basis for Monell liability. See McGregory v. City of Jackson,

335 Fed. Appx. 446, at *3 (5th Cir. 2009) (considering a claim that the

Jackson City Police Department’s failure to investigate and discipline

officers, as well as protect officers through a “code of silence,” permitted

the excessive use of force “without fear of repercussions”); Piotrowksi,

237 F.3d at 581 (considering an instance where the Houston Police

Department did not act on a report of officer misconduct). The Court’s

analysis is similar to that conducted above for the failure to implement

a dedicated mental health unit. Accepting that Chief Allen is a

policymaker directly overseeing investigations and discipline,25

Plaintiffs must also allege: (1) a policy of failing to investigate or

discipline, that (2) was the moving force causation for constitutional

violations against Mr. Salas-Sanchez, and (3) the risk of which Chief

Allen was deliberately indifferent to when he adopted the policy.




25   See supra pp. 19–20.
                                      88
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 89 of 132




         a. Policy

      As stated above, Plaintiffs present five grounds in support of their

argument that Chief Allen’s failure to investigate or discipline EPPD

officers who engage in the unconstitutional use of force amounted to a

policy sufficient to confer Monell liability in this case. Accordingly, the

Court shall consider each of these in turn, concluding that in the

totality, Plaintiffs have alleged facts that could permit a reasonable jury

to determine that such a policy did exist.

          i.   Former EPPD Officer Jorge Gonzalez

      Plaintiffs argue that Chief Allen “failed to impose reasonable and

required discipline” on Mr. Gonzalez, a former EPPD officer with

numerous misconduct complaints over the course of nine years. Resp.

21. Furthermore, Chief Allen made public statements in support of Mr.

Gonzalez shortly after an El Paso grand jury returned an indictment

against Mr. Gonzalez related to a shooting incident on April 1, 2010.

Id. at 26, 28. Therefore, Plaintiffs contend, Chief Allen “allowed an

officer with such a demonstrated history of excessive force violations to

stay on the job . . . [and] sent a message of leniency to his officers.”

Surreply 4 n.2. In response, Defendant City of El Paso argues that


                                     89
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 90 of 132




there is not sufficient evidence to support the proposition that Chief

Allen protected or failed to discipline Mr. Gonzalez. Reply 11. In the

alternative, even if Chief Allen had done such things, the evidence does

not indicate that his actions fostered an expectation of leniency amongst

other EPPD officers. Id.

     Mr. Gonzalez has a colorful record of alleged misconduct. See

Resp. Sealed Ex. 67 (Cases Involving Officer Jorge Gonzalez) (appearing

to be a demonstrative aid purporting to list every allegation and

outcome in Mr. Gonzalez’s tenure). Additionally, the Court is mindful

that Plaintiffs have not provided evidence of how many complaints

would be considered “typical” for an EPPD officer, a number that should

ideally be “zero.” Simultaneously, the Court presumes that it is

uncommon for an off-duty EPPD officer to have multiple excessive force

complaints. As Plaintiffs represent, “[Mr.] Gonzalez was the first officer

indicted in an off-duty officer involved shooting in El Paso in almost 30

years.” Resp. 21 (citing Resp. Ex. 3, at 67 (Oral Dep. of Gregory K.

Allen)). This status distinguishes Mr. Gonzalez from other officers,

providing possible insight into Chief Allen’s response to high-profile

instances involving the alleged excessive use of force.


                                    90
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 91 of 132




     Furthermore, the Court concludes that not every instance

involving Mr. Gonzalez’s alleged misconduct may be relevant in the

context of this case. For example, possible misconduct involving

intraoffice antisocial behavior may not be probitive regarding how Chief

Allen considers misconduct involving weapons. See Resp. 26 (citing

Resp. Sealed Ex. 68 (EPPD Supervisor’s Daily Log, Internal

Investigation) (describing an incident between Mr. Gonzalez and a

fellow EPPD officer)). For purposes of summary judgment, the Court

considers the facts of, and Chief Allen’s response to, the following

instances to be particularly persuasive: (1) the April 1, 2010, shooting

of Andres Cortez, id. at 24–25; (2) the March 3, 2011, shooting at a

motorist on the University of Texas El Paso [hereinafter “UTEP”]

campus, id. at 25–26; and (3) the January 21, 2012, brandishing of a

firearm at Johnny Reyes, id. at 26–27.26




26The Court anticipates that the Parties shall file motions in limine to
address the admissibility of the remaining evidence regarding Mr.
Gonzalez.

                                    91
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 92 of 132




              A. Andres Cortez

     Regarding the shooting of Andres Cortez on April 1, 2010, Mr.

Gonzalez, while off-duty, shot Mr. Cortez after a traffic incident,

paralyzing Mr. Cortez from the neck down. Resp. Sealed Ex. 68, at 81–

82 (Witness Sworn Statement of Responding Paramedic), June 28,

2019, ECF No. 180-2; id. at 87 (Summary & SRB Findings). While Mr.

Gonzalez was in his personal car, travelling with his wife,27 and stopped

at a red light, Mr. Cortez rear-ended Mr. Gonzalez’s vehicle. Resp.

Sealed Ex. 68, at 89 (Summary & SRB Findings). Next, the Gonzalez’s

exited their vehicle and approached Mr. Cortez. Id. Shortly thereafter,

Mr. Cortez accelerated his vehicle, in what Mr. Gonzalez and

independent witnesses described at Ms. Gonzalez’s general direction.

Id. at 90. In response, Mr. Gonzalez used his personal firearm. Id.

Witnesses could not confirm that Mr. Gonzalez had identified himself as

an EPPD officer before using deadly force. Id.

     After investigating, the SRB concluded that Mr. Gonzalez had

acted within policy when he used force to prevent Mr. Cortez from




27Mr. Gonzalez’s wife was also an EPPD officer at the time, and also
off-duty. Resp. Sealed Ex. 68, at 89 (Summary & SRB Findings).
                                    92
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 93 of 132




driving into Ms. Gonzalez. Resp. 25 (citing Resp. Sealed Ex. 68, at 86–

96 (Summary & SRB Findings)). Conversely, an El Paso grand jury

considered the same event and entered a two-count indictment for

aggravated assault with a deadly weapon. Id. at 26 (citing Resp. Ex. 41,

at 132–33 (Indictment)). Shortly after the indictment, Chief Allen made

public comments that he wanted to “reassure the department, the

personnel and the officers on the street, that we will stand behind them

regardless of the circumstances, of the findings of a grand jury.” Resp.

28 (citing Resp. Ex. 75, at 153 (KVIA Article, July 22, 2011)).

              B. Shooting at a Motorist

     Regarding the shooting on March 3, 2011, Mr. Gonzalez shot at a

motorist on the UTEP campus despite being unable to see into the

motorist’s vehicle. Resp. 25 (citing Resp. Sealed Ex. 68, at 102–05

(Sworn Statement of Mr. Gonzalez). Plaintiffs have not provided

evidence of the events leading up to the shooting, though Mr. Gonzalez’s

statement to SRB investigators suggests that he had responded to an

alert involving reckless driving or an altercation. Resp. Sealed Ex. 68,

at 104 (“I didn’t know if she was a victim or a subject at that time but

her actions of yelling that the subject was crazy and drunk led me to


                                    93
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 94 of 132




believe that she was more of a victim th[a]n a threat.”). At some point,

Mr. Gonzalez approached the motorist’s vehicle from behind on foot. Id.

at 103.

     Standing just seven or eight feet to the rear, Mr. Gonzalez drew

his service firearm and shot at the driver’s side of the vehicle. Id. at

104. Mr. Gonzalez said he was “aiming at the driver” despite not being

able to see into the vehicle. Id. Additionally, Mr. Gonzalez stated that

he did not believe the motorist “was going to use a weapon, other than

the vehicle, to harm [him]” and that Mr. Gonzalez was concerned that

the motorist would “drive forward away from [him].” Id. After an

investigation, Chief Allen accepted the SRB’s recommendation that Mr.

Gonzalez had acted outside of policy. Resp. 25 (citing Resp. Sealed Ex.

68, at 107 (SRB Incident Evaluation Report)). Mr. Gonzalez received a

forty-hour suspension that Chief Allen reduced to twenty-eight hours,

all of which Mr. Gonzalez was able to satisfy by forfeiting vacation time.

Id. at 25–26 (citing Resp. Sealed Ex. 68, at 106 (Settlement

Agreement)).




                                    94
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 95 of 132




              C. Johnny Reyes

     Regarding the August 4, 2013, brandishing of a firearm, the off-

duty Mr. Gonzalez pointed a gun “point blank” in Johnny Reyes’s face

after the two narrowly missed a vehicular collision. Resp. Sealed Ex.

68, at 136–38 (Witness Sworn Statement of Johnny Reyes). Mr.

Gonzalez followed Mr. Reyes into a Walmart parking lot after the near

miss. Id. at 148 (Sworn Statement of Mr. Gonzalez). Later, Mr. Reyes

told investigators that Mr. Gonzalez was screaming at him, and had not

announced himself as a police officer. Id. at 137. Mr. Reyes admitted

that he brandished a knife in self-defense, though claimed that he

dropped it once Mr. Gonzalez “pulled out his gun and said ‘El Paso

Police.’” Id. Conversely, Mr. Gonzalez told investigators that he was

standing at least ten feet away from Mr. Reyes but described Mr. Reyes

as a noncompliant aggressor who refused to drop the knife as he walked

towards Mr. Gonzalez. Id. at 149–50. Subsequently, Chief Allen agreed

to suspend any investigation or determination until “twenty business

days following the disposition of the [Andres Cortez] criminal case.”

Resp. Sealed Ex. 68, at 124 (Tolling Agreement).




                                    95
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 96 of 132




     When considered in the light most favorable to Plaintiffs, the

evidence presents an EPPD officer who is quick to use a firearm. Be it

in an act of off-duty road rage, or when responding to a reported crime,

Mr. Gonzalez does not appear to think twice before brandishing a

weapon. Additionally, Chief Allen allowed Mr. Gonzalez to continue to

serve with the EPPD after each of these events. Chief Allen did so

despite overwhelming evidence that Mr. Gonzalez was not deterred

from using his firearm on more than one occasion. Furthermore, Chief

Allen publicly supported Mr. Gonzalez after the indictment related to

the shooting of Andres Cortez. Accordingly, a reasonable jury could

conclude that Chief Allen set the expectation that an EPPD officer could

use his or her firearm without fear of serious repercussion.

     Defendant City of El Paso suggests that the Court should consider

that these instances do not involve individuals suffering from a mental

health crisis. See Reply 9 (regarding the shooting of Mr. Cortez, though

applicable to all three instances). After due consideration, the Court

rejects this argument. Evidence of how Chief Allen responds to

allegations of excessive force generally are inherently relevant to how

Chief Allen responds to allegations of excessive force against mentally


                                    96
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 97 of 132




ill individuals specifically. A reasonable jury could consider the

evidence presented and conclude that Chief Allen acts consistently

regardless of whether the matter involves a mental health crisis.

Considering the evidence in the light most favorable to Plaintiffs, such a

conclusion could support a jury determination that Chief Allen failed to

investigate or discipline EPPD officers accused of using excessive force.

     Additionally, Defendant City of El Paso argues that Mr.

Gonzalez’s record should be interpreted as “a pattern of progressive

discipline, taking into account, the facts and circumstances of each

allegation and the findings associated with each allegation.” Reply 10.

The Court is of the opinion that it would be improper for it to make a

subjective interpretation of the facts, not an objective one grounded in

law. Rather, Defendant City of El Paso will have the opportunity to

explain to the jury how it may consider Mr. Gonzalez’s record.

     Furthermore, Defendant City of El Paso presents evidence that

Chief Allen has “previously terminated officers for misconduct . . . [and]

disciplined 17 officers.” Mot. 32 (citing Mot. Sealed Ex. B, Attach. B-4,

May 1, 2019, ECF No. 144-2). Curiously, Defendant City of El Paso’s

exhibit only contains four instances, one of which the Court is to


                                    97
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 98 of 132




exclude from the record. See id. (stating that Mot. Sealed Ex. B, Attach.

B-4 is “offered only as to incidents prior to April 29, 2015”). The

remaining three each involve different EPPD officers who used less

than lethal force, and penalties that exceeded those Chief Allen gave to

Mr. Gonzalez. Mot. Sealed Ex. B, Attach. B-4 (first officer suspended

126 hours for punching a suspect; another officer suspended eighty

hours for striking a detainee in the face while she was handcuffed on

the ground; and a third officer terminated for pushing a handcuffed

detainee into a wall and then lying to a supervisor that it was in self-

defense). This evidence, though relevant to determining Chief Allen’s

approach to discipline, does not preclude a finding that Chief Allen fails

to effectively discipline EPPD officers. A reasonable jury could consider

this evidence and decide that Chief Allen has a history of unwarranted

leniency for EPPD officers involved in the use of deadly force.

         ii.   Failing to Implement Proper Investigative Techniques

     Next, Plaintiffs argue that “the manner in which [the] EPPD

investigates officer-involved shootings further serves to insulate officers

from discipline” creating an environment where “officers feel[] free to

engage in excessive force without punishment.” Resp. 54. This policy


                                    98
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 99 of 132




results from investigations Plaintiffs characterize as “far below

recognized standards.” Id. Specifically, the EPPD: (1) does not

separate EPPD officers to prevent them from communicating during the

investigation; (2) investigates all shootings as assaults on the EPPD

officer, thereby “identifying the shooting officer as the victim and the

deceased or person shot as the suspect”; and (3) fails to consider the

testimonies of non-officer witnesses who contradict EPPD officers’

versions of events. Resp. 30. Supporting these conclusions, Plaintiffs’

expert witness Mr. Ken Katsaris reviewed all evidence on the record

regarding the EPPD’s investigative practices, both generally and in Mr.

Salas-Sanchez’s death specifically.28 Resp. Ex. 77, at 160–73 (Sworn

Statement of Ken Katsaris), June 28, 2019, ECF No. 181-3.

     First, after Mr. Salas-Sanchez’s death, the EPPD did not separate

Officers Gomez and Rivera, counter to “a recognized standard




28 The Court is mindful that much of Plaintiffs’ argument relies on the
expert opinion of Mr. Ken Katsaris, whose testimony is the subject of a
motion still pending before the Court. See Def.’s Mot. to Exclude or
Limit Ops. of W. Ken Katsaris, Dec. 31, 2019, ECF No. 229.
Additionally, Mr. Katsaris’s deposition that is the subject of said Motion
is not part of the Summary Judgment record. Accordingly, the Court
concludes that it may consider Mr. Katsaris’s opinions as presented in
Plaintiffs’ Response and Surreply.
                                    99
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 100 of 132




nationwide in officer involved shootings.” Id. at 163. Failing to

separate witness officers may “have the effect of compromising the facts

and findings to allow for an impartial determination of each officer’s

role and view at the scene.” Id. at 164. Additionally, Mr. Katsaris is of

the opinion that the evidence indicates that the EPPD only provides the

testimony of EPPD officer witnesses in its presentation to the SRB. Id.

at 170; see Resp. 32 (“At the presentation before the SRB, the SRT only

presented the officers’ testimony. . . . This was testimony given after the

officers were able to regroup immediately after Erik was shot.”

(citations omitted)). When considered in the light most favorable to

Plaintiffs, a reasonable jury could conclude that the EPPD departed

from a standard practice and compromised excessive force

investigations.

     Second, the EPPD investigated Mr. Salas-Sanchez’s death as an

assault on a police officer, which Mr. Katsaris suggests “would impact

the implementation of the standard protocols and investigative

inquiry/evidence evaluation for officer involved shootings.” Id. at 164.

Accordingly, the EPPD’s investigation would have been focused on

“building a case against Mr. Salas-Sanchez” rather than investigating


                                   100
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 101 of 132




matters “directly relevant to the officer involved shooting.” Id. at 165.

For example, Mr. Katsaris notes that the EPPD did not investigate a

cell phone found next to Mr. Salas-Sanchez’s body, failed to memorialize

in writing a conducted blood splatter analysis that might have indicated

Mr. Salas-Sanchez was shot in the back, and submitted a false report to

the Texas Attorney General’s office claiming that Mr. Salas-Sanchez

was shot in the chest. Id. Considering that this evidence did not make

it to the SRB, Mr. Katsaris concluded that “the entirety of the

investigative efforts appear to be conducted in a manner consistent with

a finding favorable to Officer Gomez but are inconsistent with proper

protocols in an officer involved shooting.” Id. at 167–68. Once again,

when viewing the facts in the light most favorable to Plaintiffs, a

reasonable jury could conclude that this investigative approach

prevented the EPPD from conducting a proper and unbiased

investigation.

     Third, Plaintiffs allege that the EPPD did not gather sufficient

evidence to help resolve witness contradictions or provide such evidence

to the SRB. Resp. 32–33. For example, Plaintiff Sanchez and her

daughter witnessed the incident, but the SRB was not provided with


                                   101
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 102 of 132




their testimony. Id. at 33. Mr. Katsaris concluded that these decisions

contributed to the SRB’s determination that Mr. Gomez’s use of force

was within policy regardless of the investigation’s “clear failure to test

the officers’ and witnesses’ testimony against the evidence.” Resp. Ex.

77, at 167. Furthermore, in the shooting of Mr. Francisco Ramirez,

multiple non-officer witnesses contradicted the shooting EPPD officer’s

claims that he used his service firearm in self-defense. Id. at 170.

Additionally, Mr. Katsaris is of the opinion that, “no effort was made to

reconcile these very disparate accounts,” despite the shot pattern

evidence not supporting the EPPD officer’s story. Id. Mr. Katsaris

believes the failure to present contradictory testimony “narrows the

focus of the board members” and limits evidence, creating “the high

potential for bias, misleading and false assessment.” Id. When

considering these facts in the light most favorable to Plaintiffs, a

reasonable jury could conclude that the EPPD’s failure to collect

contradicting testimony and present it to the SRB undermines the

investigatory process.

     Defendant City of El Paso argues that Plaintiffs “completely

ignore the fact that El Paso Police shootings are also investigated by the


                                    102
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 103 of 132




Texas Rangers.” Reply 12–13. Elaborating, Defendant City of El Paso

presents that the Texas Rangers’ involvement means a reputable,

independent agency conducted a “parallel investigation” of the shooting.

Id. Furthermore, Defendant City of El Paso suggests that Plaintiffs

needed to present evidence that Chief Allen was aware of any

shortcomings in the EPPD investigatory process. Id. at 12 Were there

shortcomings, Defendant City of El Paso asserts, Plaintiffs should have

evidence that the Texas Rangers expressed concerns to Chief Allen. Id.

at 13.

     Once again, the Court concludes that it should refrain from

determining at summary judgment that the Texas Rangers’

involvement precludes the possibility that the EPPD may be liable for a

failure to investigate. Far from dispositive, the Texas Rangers’

investigation is but one piece of evidence for a jury to consider—to be

given weight and value as the jury deems appropriate.

         iii.   Remaining Arguments

     Plaintiffs identify that shortly after Mr. Gonzalez’s indictment,

Chief Allen made the decision to exclude the El Paso District Attorney’s

Office [hereinafter “DA’s Office”] from participating in EPPD


                                   103
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 104 of 132




investigations of officer involved shootings. Resp. 56 (citing Resp. Ex. 3,

at 40–45 (Deposition of Gregory K. Allen), June 28, 2019, ECF No. 181-

2). Significantly, the parties do not dispute that Chief Allen excluded

the DA’s Office. Instead, they present two different rationales behind

the decision, and disagree on the extent to which this decision had an

impact on the investigation’s efficacy.

     Plaintiffs argue that Chief Allen excluded the DA because he was

“[o]utraged” at the indictment. Id.; see Resp. Ex. 3, at 41 (Chief Allen

explaining in his deposition that “how [the DA’s Office] came up to an

indictment was beyond us”). Identifying a portion of Defendant City of

El Paso’s Summary Judgment evidence “Affidavit of Gregory K. Allen”

(ECF No. 143-12) regarding the DA Office’s conclusions on Mr.

Gonzalez’s conduct, Plaintiffs contend that “Chief Allen was upset

because the [DA’s Office] did not concur with EPPD.” Resp. 57. (citing

Mot. Ex. B, at ¶ 24). Conversely, Defendant City of El Paso argues that

Chief Allen was “concerned with prejudice” in the DA’s Office. Reply 14

(citing Resp. Ex. 3, at 40–45). Additionally, Chief Allen stated that

supplanting the DA’s Office with the Texas Rangers “was the best

option to avoid political situations and have an unbiased investigation


                                   104
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 105 of 132




. . . . I would fully expect for a grand jury to indict an officer on a Texas

Ranger investigation that found probable cause for violation of the

criminal law.” Mot. Ex. B, at ¶ 23. Further, Defendant City of El Paso

asserts that Chief Allen did not have the power to prohibit the DA’s

Office from conducting their own investigation. Reply 14.

      After due consideration, the Court is of the opinion that a fact

issue exists as to the motivation, purpose, and impact of Chief Allen’s

decision to exclude the DA’s Office from participating in EPPD

investigations of officer involved shootings. Particularly, the timing of

Chief Allen’s decision raises plausible concern that he may have been

motivated by a desire to prevent future indictments that he opposed. A

reasonable jury could decide that Chief Allen excluded the DA’s Office

to insulate EPPD officers from scrutiny and the possibility of receiving

consequences for their actions.

      Additionally, Plaintiffs present that the EPPD failed to use an

internal affairs monitoring system to track investigations into EPPD

officer misconduct. Resp. 57–58. In 2010, Chief Allen implemented the

system known as “Blue Team” to address concerns about police

misconduct and excessive use of force. Id. at 57. Plaintiffs note that


                                     105
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 106 of 132




despite being available for use during the time of Mr. Salas-Sanchez’s

death, the EPPD had not been using it. Id. (citing Ex. 3, 17–18).

Defendant City of El Paso responds that Plaintiffs have not presented

sufficient evidence linking the failure to use Blue Team with any

constitutional violations. Reply 16–17. After due consideration, the

Court concludes that though not dispositive, the failure to use Blue

Team is probative regarding Chief Allen’s investigation and disciplinary

policy. The jury may determine what weight to give this evidence as

they consider Plaintiffs’ argument in its totality.29

      Furthermore, Plaintiffs identify the investigations and

disciplinary actions taken in the pattern of EPPD shootings that the

Court has considered above.30 “In all cases presented, Chief Allen




29Plaintiffs argue that Defendant City of El Paso’s Reply “attempts to
balkanize Plaintiffs’ evidence—failing to review the evidence as a whole
and instead arguing that each separate section of Plaintiffs’ failure to
discipline argument alone does not support Monell liability. Surreply 4.
The Court is of the opinion that Defendant City of El Paso’s Blue Team
argument is an example of Plaintiffs’ assertion.

30See discussion supra Sections III.A.2.c.iv.A–D regarding the uses of
force against Mr. Daniel Rodrigo Saenz, Mr. Fernando Gomez, Mr.
Daniel Ramirez, and Mr. Francisco Ramirez. Additionally, the Court
does not consider it necessary to restate its conclusions for each cited
instance.
                                    106
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 107 of 132




decided not to impose discipline, excluding the Saenz case where the

summary judgment evidence shows he reluctantly imposed discipline.”

Resp. 59. Considering all facts in these cases in the light most

favorable to Plaintiffs, Chief Allen failed to impose discipline in the

tasings of Mr. Fernando Gomez and Mr. Daniel Ramirez, and the

shooting of Mr. Francisco Ramirez. Moreover, it is possible that Chief

Allen’s threshold for discipline requires there be significant public

scrutiny when an EPPD officer shoots and kills a handcuffed individual

in custody. The Court is of the opinion that many cases of excessive

force would fail to meet this subjective standard. Accordingly, the

Court concludes that a reasonable jury could determine that Chief

Allen’s investigative and disciplinary approach to similar instances of

police misconduct helps insulate EPPD officers from facing

consequences for the excessive use of force.

     When considered in their totality, and taken in the light most

favorable to Plaintiffs, these facts are sufficient for a reasonable jury to

conclude that Chief Allen created a policy of failing to investigate or

discipline EPPD officers accused of using excessive force, sufficient to

establish a claim for Monell liability.


                                    107
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 108 of 132




        b. Moving Force Causation

     Plaintiffs have the difficult task of proving to a jury that Chief

Allen’s failure to investigate or discipline uses of excessive force was a

moving force of Mr. Salas-Sanchez’s death. Their argument attempts to

prove a negative, namely that the evidence suggests that EPPD officers

did not fear repercussions for their actions, such that they were

“emboldened” to use force. See Resp. 50. Therefore, had Defendant

Officers Gomez and Rivera been on notice that their use of force might

have consequences, they may have been more restrained before

deploying their service firearm or taser, respectively.

     Having considered the law and the evidence, the Court is

uncertain that, to meet this moving force burden, Plaintiffs must prove

that EPPD officers were “emboldened” to use force. See Peterson,

588 F.3d at 852 (considering whether there was an “official policy of

condoning excessive force so as to hold the city liable” (emphasis

added)). Certainly, one could conclude that Mr. Gonzalez acted with

impunity as he continued to receive arguably inadequate discipline for

shooting people. Conversely, there is no evidence that the EPPD

officers in the other instances went on to use force again or encourage


                                    108
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 109 of 132




others to do so. Instead, a reasonable jury could look at the evidence

and determine that Chief Allen’s failure to discipline communicated to

the EPPD that these actions were not punishable, let alone

unconstitutional.

     One could conclude that when faced with an officer involved

shooting, Chief Allen would communicate to the EPPD that either

(1) the EPPD officer had done nothing wrong, or (2) the EPPD officer’s

actions only warranted a minimal punishment. Accordingly, it is not

hard to imagine that Defendant Officers Gomez and Rivera may have

used force because Chief Allen failed to reinforce the right behavior

through discipline. Therefore, EPPD officers were “emboldened” to act

at least to the extent that they may have believed their use of force was

acceptable. A jury may not need to go the extra step and conclude that

Chief Allen had encouraged the behavior, or that Defendant Officers

Gomez and Rivera acted with the express expectation that they would

not be disciplined. Instead, a jury could possibly conclude that Chief

Allen’s policy may have created an environment devoid of caution

rather than purposely aggressive.




                                    109
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 110 of 132




     The Court finds that there is sufficient evidence in the record to

support a Monell liability claim regarding a policy of inadequate

disciplinary decisions and investigative practices. After due

consideration, the Court is of the opinion that a reasonable jury could

conclude that Chief Allen’s failure to adequately investigate or

discipline EPPD officers involved in shootings was a moving force of Mr.

Salas-Sanchez’s death.

        c. Deliberate Indifference

     Plaintiffs argue that “as the final authority on all aspects of

discipline, Chief Allen cannot reasonably claim that he was unaware of

his own decisions not to discipline and the obvious consequence of those

decisions.” Resp. 60. As Defendant City of El Paso notes in its reply,

the Court has previously articulated that “[w]hat matters, and what

Plaintiffs ultimately need to prove, is that Chief Allen either explicitly

promoted or was deliberately indifferent to a policy of refusing to

discipline officers guilty of excessive force.” Reply 12 (quoting Mem. Op.

& Order Den. Def. City of El Paso’s Mot. to Dismiss 43, Oct. 6, 2017,

ECF No. 46). Furthermore, Defendant City of El Paso rearticulates this

standard as “whether Chief Allen knew that the unidentified deficient


                                     110
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 111 of 132




policies or procedures were insufficient, illegal, or improper and that

they were actually causing violations of the Constitution by [EPPD]

officers.” Id. The Court is of the opinion that Defendant City of El

Paso’s standard requiring actual knowledge is not an accurate

statement of law.

      The Fifth Circuit has explained that “[w]here the city policymaker

knows or should know that the city’s police officers are likely to shoot to

kill without justification and without restraint . . . the city should be

liable when the inevitable occurs and the officers do so.” Grandstaff v.

City of Borger, 767 F.2d 161, 179 (5th Cir. 1985). Additionally, as

shown earlier in this Memorandum Opinion and Order, Chief Allen can

subjectively disagree with how to interpret EPPD officer conduct and

still satisfy the deliberate indifference standard when considering facts

in the light most favorable to Plaintiffs.31

      The Court considers it an obvious consequence that failing to

investigate or discipline EPPD officers who are accused of using


31See discussion supra Sections III.A.2.c. With each instance of
excessive use of force, Chief Allen was not moved to change EPPD
tactics and procedures. Therefore, whatever subjective interpretation
he may have had regarding the facts before him would appear to be
inconsistent with an objective analysis as a matter of law.
                                    111
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 112 of 132




excessive force would inevitably result in a constitutional violation of

excessive force. The facts indicate that Chief Allen may have so failed,

and his opinion that the vast majority of shootings did not violate EPPD

policy or the constitution has no bearing on whether he was deliberately

indifferent to the risks. Additionally, he continued to inadequately

investigate or discipline EPPD officers who used excessive force despite

evidence that a change was necessary. The summary judgment record

suggests that Chief Allen knew or should have known that Mr.

Gonzalez was an EPPD officer undeterred by prior punishment, of the

DA office’s decision to indict said officer, of complaints from the

community, and of a pattern of unconstitutional uses of force against

mentally ill individuals. If proven at trial, it is reasonable to conclude

that Chief Allen was deliberately indifferent as to a policy of failing to

investigate or discipline EPPD officers accused of using excessive force.

     Defendant City of El Paso suggests that the Court should give

weight to the fact that an investigation was conducted at all. Mot. 30

(citing Peterson v. City of Fort Worth, 588 F.3d 838, 852 (5th Cir. 2009)).

As the Fifth Circuit explains, “conduct[ing] an internal investigation . . .

appear[s] to cut against the argument that the City condoned the use of


                                    112
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 113 of 132




excessive force.” Peterson, 588 F.3d at 852. Further, in the same

paragraph on which Defendant City of El Paso relies, the Peterson

Court opined that “vaguely rul[ing] most of its complaints “not

sustained” or “unfounded” is no assurance that these investigations

exonerate the City.” Id. Though the Peterson Court ultimately found in

the defendant municipality’s favor, its reasoning is highly applicable to

the case at bar. The Court is reluctant to conclude that the mere act of

conducting an investigation justifies exoneration if the EPPD has not

actually put in the work to earn to it.

     Additionally, the Court recognizes that Chief Allen may be the

advocate that many individuals wish they had in their own workplace.

The evidence put forth suggests that Chief Allen is deeply loyal to his

officers, and believes that he has an obligation to support them when

they are accused of wrongdoing. Simultaneously, Chief Allen is

responsible for investigating any accusations and disciplining his

officers when they have in fact done wrong. It is possible that where

Chief Allen succeeds in supporting his officers, he fails in disciplining

them.




                                    113
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 114 of 132




      After due consideration, the Court is of the opinion that when

taking the evidence in the light most favorable to Plaintiffs, a

reasonable jury could determine that the EPPD had a policy of failing to

adequately investigate and discipline EPPD officers involved in

shootings such that EPPD officers were insulated from the

consequences of using excessive force. Additionally, a reasonable jury

could find that such a policy was a moving force of Mr. Salas-Sanchez’s

death, and Chief Allen was deliberately indifferent to the risk that this

policy might result in constitutional violations. Therefore, the Court

concludes that it should deny Defendant City of El Paso’s Motion as to

its failure to investigate and discipline that provides a basis for one of

Plaintiffs’ Monell claims for relief.

   C. Failure to Train Officers on How to Respond to a Person in
      a Mental Health Crisis
      Plaintiffs’ third theory for municipal liability is that Defendant

City of El Paso failed to train EPPD officers on how to respond to

mental health crises. Resp. 61. Whereas Plaintiff’s first theory focuses




                                        114
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 115 of 132




on systemic policy decisions regarding proper training, the third theory

focuses on the training EPPD officers received.32

      The standard for establishing liability for failure to train is the

same standard for establishing municipal liability in general. Valle,

613 F.3d at 544 (citing Roberts, 397 F.3d at 293). “A plaintiff must

show that (1) the municipality’s training policy or procedure was

inadequate; (2) the inadequate training policy was a ‘moving force’ in

causing [a] violation of the plaintiff’s rights; and (3) the municipality

was deliberately indifferent in adopting its training policy.” Id. (citing

Sanders–Burns v. City of Plano, 594 F.3d 366, 381 (5th Cir. 2010)).

“Moreover, ‘for liability to attach based on an “inadequate training”

claim, a plaintiff must allege with specificity how a particular training


32 The Court is mindful that there is inherent overlap between these
two theories. For example, a jury determination that EPPD policy
required EPPD officers to have probable cause to initiate an EDO may
be negated through a factual showing that the EPPD officers were not
trained on the probable cause requirement. Additionally, the inverse is
true—an EDO policy that does not require probable cause may be
remedied through evidence that the EPPD officers were trained on
probable cause anyway. The Court is uncertain whether a jury
determination that Defendant City of El Paso is not liable on the theory
of failure to train would preclude liability on the theory that it had
failed to institute proper procedures to ensure a constitutional response
to mental health crises. It is possible that the third theory is a
necessary condition of the first.
                                    115
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 116 of 132




program is defective.’” Goodman v. Harris Cty., 571 F.3d 388, 395 (5th

Cir. 2009) (quoting Roberts v. City of Shreveport, 397 F.3d 287, 293 (5th

Cir. 2005)). After due consideration, the Court is of the opinion that

Plaintiffs provide sufficient facts at the summary judgment stage to

establish municipal liability for a failure to train.

        a. Policy

     Defendant City of El Paso argues that EPPD’s training program is

adequate because it complies with the standards provided by the Texas

Commission on Law Enforcement [hereinafter “TCOLE”]. Mot. 21.

TCOLE “is the Texas State agency responsible for certifying and

licensing law enforcement officers in Texas.” Mot. Ex. A, at 2 (Affidavit

of Peter Pacillas). In its Motion, Defendant City of El Paso describes

EPPD’s training program in detail, citing to the affidavits of Chief

Allen, Assistant Chief of Police Peter Pacillas [hereinafter “Assitant

Chief Pacillas”], and In-Service Training Coordinator Robert Zavala as

evidence. Mot. 4–8. According to Assistant Chief Pacillas, EPPD has,

including prior to the shooting of Mr. Salas-Sanchez, “maintained full

and complete compliance with TCOLE training mandates.” Id. at ¶ 26.




                                     116
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 117 of 132




      Despite summary judgment evidence of EPPD compliance with

TCOLE, Plaintiffs argue that Defendant City of El Paso failed to

adequately train its officers when it failed to: (1) make sure that

Defendant Officers Gomez and Rivera received the necessary training;

(2) train its officers on how to properly execute mental health arrests;

and (3) train its officers on when one can make a warrantless entry into

a home to make a mental health arrest.33 Resp. 61–63. As a threshold

matter, it would appear that a determination that Defendant Officers

Gomez and Rivera did not receive the necessary training may prove one

or both of Plaintiff’s second and third arguments. Conversely, if the

jury determined that Officers Gomez and Rivera received what the

EPPD considered necessary training, Plaintiffs’ arguments for failure to

train on initiating an EDO or making a warrantless entry rely on the


33 Similar to the Court’s concerns in the previous footnote, one may
attempt to argue that a jury determination of municipal liability
predicated on the theory of failing to implement a CIT program is a
sufficient condition to prove the theory of failure to train. The Court is
of the opinion that there is a distinct difference between creating a
formal CIT program and training an individual officer. The inquiry is
not whether Defendant City of El Paso de facto failed to train EPPD
officers because it did not have a CIT program. Instead, this theory
pertains to whether Defendant City of El Paso knew the existing
training procedures were inadequate.

                                    117
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 118 of 132




supposition that the training was pursuant to policies that were facially

unconstitutional. Resp. 61–62. Therefore, any factual support

indicating training within the scope of those policies would appear to

establish that there was a policy of failing to train EPPD officers.34

      In its Motion, Defendant City of El Paso provides a detailed

explanation of the standard training that all EPPD officers are required

to participate in, whice includes “1,000 hours of TCOLE approved

training hours,” Mot. 4, and “40 hours of in-service training within a

two-year period,” id. 6. Each EPPD recruit is “provided with the

Intermediate CIT curriculum.” Id. at 27 (citing Mot. Ex. C, attach. C-1

(Crisis Intervention Training), May 01, 2019, ECF No. 143-26).


34 Similar to the prior two footnotes, the Court is of the opinion that a
finding that EPPD policies are facially unconstitutional as to Plaintiff’s
first theory is a necessary condition for proving Plaintiffs’ failure to
train theory through this specific argument. The Court is mindful that
when a jury is presented with alternative arguments for the same
theory of liability, it is impossible to know which argument ultimately
prevailed in the deliberation room. See Fed. R. Evid. 606(b) (preventing
a juror from testifying regarding jury deliberations except in limited
circumstances); see also Pena-Rodriguez v. Colorado, 137 S. Ct. 855, 865
(2017) (explaining that the Federal Rules of Evidence Rule 606(b)
“promotes full and vigorous discussion” during jury deliberations and
“gives stability and finality to verdicts”). Should the Court determine
that the evidence is insufficient to support a finding that the policy is
facially unconstitutional, see Fed. R. Civ. P. 50, the Court may preclude
Plaintiffs from presenting this argument to the jury.
                                    118
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 119 of 132




Additionally, other mandatory trainings included topics on mental

health and use of force. Id. at 6–7. Notably, Defendant Officers Gomez

and Rivera have been current on their training requirements

throughout their careers and received “mental health/mental health

officer certification” as well as training in the use of force and “search

and seizure/entry of homes.” Id. at 8. Furthermore, Defendant City of

El Paso represents that EPPD’s training exceeds TCOLE requirements.

Id. at 22.

      Conversely, Plaintiffs suggest that meeting these requirements on

paper does not accurately reflect the amount of training Defendant

Officers Gomez and Rivera actually received. Resp. 37. Reviewing

Defendant City of El Paso’s exhibits, Plaintiffs argue that both officers

received little, if any, relevant training on handling mental health

crises in the decade between when each graduated from the EPPD

academy and the date of Mr. Salas-Sanchez’s death. Id. (“[I]n the ten

years that have passed since he finished his probationary period, it does

not appear that Officer Gomez had taken the State-required refresher

mandatory mental health officer training.”). Furthermore, deposition

testimony indicates that EPPD officers may not remember their


                                    119
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 120 of 132




training. Id. 37–38 (citing Resp. Ex. 78, at 179–85 (Oral Deposition of

Alberto Rivera) (unable to answer when asked what instructors covered

in trainings)).

      The Fifth Circuit instructs that courts should “consider

compliance with state requirements as a factor counseling against a

‘failure to train’ finding” though it also suggests that a plaintiff might

be able to “establish[] that the City’s training practices are inadequate.”

Zarnow v. City of Wichita Falls, 614 F.3d 161, 171 (5th Cir. 2010).

Assuming arguendo that every EPPD officer was TCOLE compliant,

Plaintiffs still identify possible gaps in both Defendant Officers Gomez’s

and Rivera’s training records. At best, the summary judgment evidence

suggests that EPPD officers receive one intermediate CIT course at the

beginning of their careers, to be reinforced with a periodic refresher

course once every few years. Given these gaps, the Court is of the

opinion that it is ill-equipped to decide whether this amount of training

is sufficient to justify taking a fact issue away from the jury.

      Nevertheless, it is undeniable that these trained, TCOLE

compliant, EPPD officers still made a warrantless entry into the Salas-

Sanchez’s home to execute an EDO and used force after failing to


                                    120
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 121 of 132




de-escalate a mental health crisis. Furthermore, Officer Rivera had

initiated a number of EDOs, Chief Allen knew that “the use of

warrantless emergency detention orders had increased over the years,”

and Chief Allen appointed Defendant Officer Gomez as a training

instructor at the EPPD Academy “less than two weeks after shooting a

mentally ill person.” Resp. 38, 62. This evidence could indicate that the

decision-making Defendant Officers Gomez and Rivera exhibited the

night of Mr. Salas-Sanchez’s death was consistent with EPPD training.

     Hence, a reasonable jury could consider the facts in the light most

favorable to Plaintiffs and conclude that it does not matter whether

EPPD officer training was actually administered, inherently deficient,

or facially deficient. EPPD officers were interacting with mentally

individuals, initiating EDOs, and making warrantless entries in a

manner that suggests training policies that were constitutionally

inadequate.

        b. Moving Force Causation

     As the Court explained in its prior analysis on facially

unconstitutional policies, actions consistent with any constitutionally

inadequate training provided to EPPD officers should satisfy the


                                   121
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 122 of 132




moving force causation requirement to establish Monell liability.35

Specifically, were Defendant Officers Gomez and Rivera trained to

execute warrantless EDOs without probable cause, their training would

be a moving force of the unconstitutional entry into the Salas-Sanchez

home and seizure of Mr. Salas-Sanchez.

      Conversely, if a reasonable jury were to determine that EPPD

training was substantively consistent with the Constitution, but

inadequately administered, the jury would then have to consider

whether Defendant Officers Gomez and Rivera violated Mr. Salas-

Sanchez constitutional rights because of a lack of training. The Court is

of the opinion that there is sufficient evidence for such a finding.

Taking the facts in the light most favorable to Plaintiffs, Defendant

Officers Gomez and Rivera initiated an EDO without probable cause,

entered the Salas-Sanchez’s residence, and used excessive force against

Mr. Salas-Sanchez. A reasonable jury could conclude that had

Defendant Officers Gomez and Rivera received adequate training, they

would have taken a different course of action that evening.




35See discussion supra Section III.A.1.c regarding Plaintiffs’ argument
that Defendant City of El Paso’s EDO policy is facially unconstitutional.
                                    122
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 123 of 132




           c. Deliberate Indifference

     “Deliberate indifference of this sort is a stringent test, and ‘a

showing of simple or even heightened negligence will not suffice’ to

prove municipal culpability.” Piotrowski, 237 F.3d at 579 (quoting

Brown, 520 U.S. at 407). Additionally, deliberate indifference requires

“a systemic failure attributable to the [municipality].” Sanchez v.

Young Cty., 866 F.3d 274, 280 (5th Cir. 2017). To show deliberate

indifference, it must be “obvious that the likely consequences of not

adopting a policy will be a deprivation of constitutional rights.” Rhyne

v. Henderson Cty., 973 F.2d 386, 392 (5th Cir. 1992). For example,

arming officers with guns but failing to train them on the constitutional

limits of the use of deadly force would amount to deliberate indifference.

Id. In such circumstances, “‘the need for more or different training is

obvious . . . [and] the policymakers of the city can reasonably be said to

have been deliberately indifferent to the need.’” Connor v. Travis Cty.,

209 F.3d 794, 796–97 (5th Cir. 2000) (quoting City of Canton, 489 U.S.

at 390).

     The record reflects that throughout his tenure, Chief Allen has

been aware of various shortcomings regarding EPPD responses to


                                        123
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 124 of 132




mental health crises and the use of force. It would appear fundamental

to even the most casual of observers that these concerns might be best

addressed through proper training. When evidence exists that EPPD

officers are inadequately trained, it would seem to fall on the Chief of

the EPPD to improve training programs. A reasonable jury could

determine that Chief Allen not only failed to improve training programs

but did so despite the clear risk of constitutional violations that failing

to train poses.

     If a jury were to determine that EPPD officers were trained

pursuant to policies that were facially unconstitutional, Chief Allen as a

policymaker could be deemed to have been deliberately indifferent to

the unconstitutional conduct that his own policy prescribed.

Simultaneously, if a jury were to determine that EPPD officers were

inadequately trained, Chief Allen as a policymaker failed to improve

training as EDOs increased and EPPD officers used excessive force

against mentally ill individuals. Accordingly, the Court is of the opinion

that these facts indicate that the need for different training is plainly

obvious. See City of Canton, 489 U.S. at 390. Furthermore, a

reasonable jury, viewing the facts in the light most favorable to


                                    124
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 125 of 132




Plaintiffs, could conclude that Chief Allen’s failure to train the EPPD

was so systemic as to hold Defendant City of El Paso liable for the

consequential violations of Mr. Salas-Sanchez’s rights. See Sanchez,

866 F.3d at 280. Therefore, the Court determines that it should deny

Defendant City of El Paso’s Motion for Summary Judgment as to

Plaintiffs’ theory of Monell liability regarding a failure to train.

  D. Pattern and Practice of Excessive Use of Force When
     Dealing with Persons Suffering from Mental Health Crises
     Plaintiffs argue that the EPPD “had a persistent and widespread

practice of using excessive force against persons in mental health

crises.” Resp. 63. In prior sections of this Memorandum Opinion and

Order, the Court’s analysis has considered whether Plaintiffs alleged a

sufficient pattern for Chief Allen to have been deliberately indifferent to

the potential for constitutional violations inherent in his policies.

Dissimilarly, now the Court focuses on the EPPD officers’ actions and

whether a pattern existed that could reflect on the EPPD as a whole.

Though the evidence presented may be the same, its effect changes

when considered for a different purpose.

     A “persistent, widespread practice” is sufficient to constitute an

official policy or custom. Piotrowski, 237 F.3d at 579. A pattern is

                                    125
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 126 of 132




tantamount to official policy when it is “so common and well-settled as

to constitute a custom that fairly represents municipal policy.”

Peterson, 588 F.3d at 850 (quoting Piotrowski, 237 F.3d at 579). “Where

prior incidents are used to prove a pattern, they ‘must have occurred for

so long or so frequently that the course of conduct warrants the

attribution to the governing body of knowledge that the objectionable

conduct is the expected, accepted practice of city employees.’” Id.

(quoting Webster v. City of Houston, 735 F.2d 838, 842 (5th Cir. 1984)

(en banc)).

     A pattern requires similarity and specificity; that is, “[p]rior

indications cannot simply be for any and all ‘bad’ or unwise acts, but

rather must point to the specific violation in question.” Id. at 851 (5th

Cir. 2009) (quoting Estate of Davis ex rel. McCully v. City of North

Richland Hills, 406 F.3d 375, 383 (5th Cir. 2005)). “A pattern also

requires ‘sufficiently numerous prior incidents,’ as opposed to ‘isolated

instances.’” Id. (quoting McConney v. City of Houston, 863 F.2d 1180,

1184 (5th Cir. 1989)).

     Previously, in deciding Defendant City of El Paso’s motion to

dismiss, the Court held that Plaintiffs’ allegations regarding:


                                   126
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 127 of 132




     [S]tatistics combined with the numerous past cases of
     excessive force in similar circumstances to those involved in
     the present case—followed by the repeated denial of
     wrongdoing—lead to a reasonable and plausible inference
     that excessive force against the mentally ill in El Paso is a
     widespread practice.

Mem. Op. and Order Denying Def. City of El Paso’s Mot. to Dismiss 23.

Additionally, the Court determined that for each of the cases cited in

Plaintiffs Amended Complaint, Plaintiffs alleged “that officers should

have been on notice that an individual was suffering from some mental

condition, that the individual never substantially threatened or

attacked any officer, but [the individual] was nonetheless killed, tased,

or beaten by the officers.” Id. at 26.

     Once again, it is unclear how the Court should navigate the Fifth

Circuit’s Monell and Graham jurisprudences. Plaintiffs’ argument

implies that the Court should consider all eight instances discussed

above as a pattern of similar conduct that, as the Court has concluded,

resulted in constitutional violations half of the time. Simultaneously, if

relevancy is limited to those matters that involved constitutional

violations, four examples of near-identical conduct must be excluded. If,

as the Court has determined today, the remaining four examples are

sufficient to prove a pattern of deliberate indifference, the Court must

                                    127
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 128 of 132




then decide whether the same holds true for a pattern of a widespread

practice.

     Conversely, the Fifth Circuit has been quite clear on the

significant hurdle of proving a widespread unwritten policy or custom.

See Peterson, 588 F.3d at 851 (affirming trial court’s conclusion that

twenty-seven alleged instances of force over four years was insufficient

to prove a pattern); Pineda, 291 F.3d at 329 (vacating trial court’s

conclusion that eleven instances of warrantless entry was sufficient to

prove a pattern). It is one thing for Plaintiffs to present a pattern that

should move Chief Allen. It is quite another to find a pattern that

reflects the very nature and character of an entire police force.

Accordingly, regardless of whether the Court considers four instances or

all eight, there are not enough instances for the Court to conclude that

Plaintiffs have met their burden.

     Furthermore, this legal conclusion is consistent with the broader

context of this case. The evidence presented creates a compelling

argument that Defendant City of El Paso’s municipal liability is derived

from policies Chief Allen implemented, expressly or implicitly.

Additionally, EPPD officers’ actions are better characterized as a


                                    128
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 129 of 132




symptom of broad policy decisions, not a groundswell of misconduct

from everyday officers. Should Plaintiffs prove their case at trial, it

would appear to be a classic example of the proverbial fish that rots

from the head down. A reasonable jury could not conclude that many of

these EPPD officers did anything other than conform with the flawed

policies Chief Allen has promulgated.

     The Court is of the opinion that an unwritten policy or custom

that starts from the ground up requires a pattern so extensive as to

preclude the possibility that a rotten apple spoils the whole bunch.

Contrastingly, a smaller, but nonetheless impactful, pattern should

move an individual policymaker to act in a manner that sets the proper

standard for every EPPD officer. One can imagine a circumstance

where municipal liability may be systemically derived from all levels of

an organization. After due consideration, the Court concludes that this

is not such a case. Accordingly, Defendant City of El Paso’s Motion for

Summary Judgment is granted as to Plaintiffs’ theory that the EPPD

had a pattern or practice of using excessive force against persons in

mental health crises.




                                    129
      Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 130 of 132




IV.    CONCLUSION

       After many months of consideration, having navigated

significantly complex issues of fact and law, the Court is of the opinion

that Defendant City of El Paso, Texas’ “Motion for Summary Judgment”

(ECF No. 143) should be GRANTED IN PART AND DENIED IN

PART.

       Accordingly, IT IS ORDERED that Defendant City of El Paso,

Texas’ Motion for Summary Judgment regarding Plaintiffs Celia

Sanchez and Oscar Salas’s Monell liability theory that the EPPD had a

pattern or practice of using excessive force against persons suffering

from mental health crises is GRANTED.

       IT IS FURTHER ORDERED that Defendant City of El Paso,

Texas’ Motion for Summary Judgment regarding Plaintiffs Celia

Sanchez and Oscar Salas’s Monell liability theory that the EPPD failed

to institute proper procedures to ensure officers employ appropriate

tactics when dealing with persons suspected of suffering from mental

illness is DENIED.

       IT IS FURTHER ORDERED that Defendant City of El Paso,

Texas’ Motion for Summary Judgment regarding Plaintiffs Celia


                                     130
     Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 131 of 132




Sanchez and Oscar Salas’s Monell liability theory that the EPPD failed

to properly investigate and discipline officers involved in excessive use

of force is DENIED.

      IT IS FURTHER ORDERED that Defendant City of El Paso,

Texas’ Motion for Summary Judgment regarding Plaintiffs Celia

Sanchez and Oscar Salas’s Monell liability theory that the EPPD failed

to train officers on how to handle individuals suffering from a mental

health crisis is DENIED.

      IT IS FURTHER ORDERED that any request or objection

addressed in today’s Memorandum Opinion and Order shall be bound

by the determinations included herein.

      IT IS FINALLY ORDERED that any request or objection not

addressed in today’s Memorandum Opinion and Order is DENIED

WITHOUT PREJUDICE and may be brought again through the

appropriate pre-trial motion or a timely objection at trial, so long as

permissible pursuant to the Federal and Local Rules of Civil Procedure,

and all other rights and privileges afforded to the parties by law.36




36This Order shall not be construed as a determination on the form or
substance of any request or objection contemplated herein.
                                    131
    Case 3:17-cv-00133-DCG Document 264 Filed 03/03/20 Page 132 of 132




Counsels are ADVISED that any motion made outside of corresponding

deadlines previously set in this case shall require leave of Court to file.

Furthermore, the Court retains the right to carry any such motion

through trial.

     SIGNED this 3rd day of March, 2020.


                            ___________________ _________________
                            PHILIP R. MARTINEZ
                            UNITED STATES DISTRICT JUDGE




                                    132
